       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 1 of 46



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                  v.                          13 Cr. 368-4 (DLC)

ARTHUR BUDOVSKY,
   a/k/a “Arthur Belanchuk,”
   a/k/a “Eric Paltz,”

                       Defendant.




                        GOVERNMENT SENTENCING SUBMISSION




   PREET BHARARA                           LESLIE CALDWELL
   United States Attorney                  Assistant Attorney General
                                           Criminal Division
                                           M. KENDALL DAY
   Christian R. Everdell                   Chief, Asset Forfeiture and Money
   Christine I. Magdo                      Laundering Section
   Assistant United States Attorneys
                                           Kevin G. Mosley
    -Of Counsel-
                                           Trial Attorney
                                            -Of Counsel-
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 2 of 46


                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     April 29, 2016

By ECF and Hand Delivery
Hon. Denise L. Cote
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re:     United States v. Arthur Budovsky, 13 Cr. 368-4 (DLC)

Dear Judge Cote:

        The Government respectfully submits this letter in advance of the sentencing of
defendant Arthur Budovsky, which is currently scheduled for May 6, 2016 at 3:00 p.m. On
Friday, January 29, 2016, three days before trial in this case was set to begin, Budovsky pled
guilty, pursuant to a plea agreement with the Government, to Count One of the Superseding
Indictment S1 13 Cr. 368 (DLC), charging him with conspiracy to commit money laundering, in
violation of 18 U.S.C. § 1956(h), for his role in creating and running Liberty Reserve. Pursuant
to the plea agreement, the parties have stipulated that the Sentencing Guidelines call for a
sentence at the statutory maximum – 240 months’ imprisonment – which Probation recommends.
But for that statutory cap, the parties have stipulated that Budovsky would face a Guidelines
range of 360 months to life imprisonment, based principally on the hundreds of millions of
dollars in criminal proceeds that Liberty Reserve laundered for U.S.-based criminal enterprises.

                               PRELIMINARY STATEMENT

         As set forth below, a Guidelines sentence is amply warranted in this case, based on
numerous grounds. First, as the co-founder, leader, and principal beneficial owner of the digital
currency company, Liberty Reserve, Budovsky was responsible for running a money laundering
operation of unprecedented size and scope, which became the financial hub for cybercriminals
around the world who used it to launder billions of dollars of criminal proceeds. Second,
Budovsky is a proven recidivist who developed Liberty Reserve shortly after being convicted for
running a similar unlicensed digital money transmitting business in New York, and who has
made his living through such businesses for most of his life. Third, Budovsky has repeatedly
minimized his conduct and shown no remorse for his actions, which have facilitated
cybercriminals worldwide and led to the financial ruin of numerous victims. Based on these
facts, a Guidelines sentence is appropriate under 18 U.S.C. § 3553(a), in light of the seriousness
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 3 of 46



of the offense, as well as the need for specific deterrence and to protect society from further
crimes of the defendant.

                                  FACTUAL BACKGROUND

        The section below tracks the facts set forth in the Presentence Report (“PSR”) prepared
by Probation. As the PSR notes, Budovsky has submitted to Probation a lengthy alternative
version of the offense conduct, which is repeated in his sentencing submission to the Court, in
which he raises a number of objections to the facts contained in the PSR. (PSR at 42). However,
as the PSR and Budovsky’s offense conduct summary both note, almost all of the objections are
not true objections to underlying facts, but rather arguments about the inferences that should be
drawn from those underlying facts or the characterization of certain facts. (Id.). We address the
most important of these disagreements in Discussion section below.

         To the extent that a dispute truly relates to a contested fact, as opposed to a disputed
inference or characterization, we believe that the Court can resolve the dispute – if the Court
feels it needs to – by relying on the documents in the record, without the need for additional
testimony at a Fatico hearing. We note further that the parties extensively discussed whether a
Fatico hearing was necessary and the defendant did not request one, electing instead to rely on
the existing documentary record to support his arguments. See United States v. Ghailani, 733
F.3d 29, 54 (2d Cir. 2013) (“‘[I]t is well established that a district court need not hold an
evidentiary hearing to resolve sentencing disputes, as long as the defendant is afforded some
opportunity to rebut the [g]overnment’s allegations.’”) (quoting United States v. Broxmeyer, 699
F.3d 265, 280 (2d Cir. 2012) (internal quotation marks omitted). In any event, as set forth more
fully below, there are more than enough uncontested facts before the Court to warrant imposition
of a Guidelines sentence.

                                             Overview

        Liberty Reserve S.A. (“Liberty Reserve”) operated one of the world’s largest and most
widely used digital currencies, which could be used to send and receive payments, via the
Internet, to and from people located all over the world. By May 2013, when it was shut down as
a result of the Government’s criminal investigation, Liberty Reserve had more than 5.5 million
user accounts worldwide, and had processed more than 78 million financial transactions with a
combined value of more than $8 billion. United States users accounted for the largest segment
of Liberty Reserve’s total transactional volume – between $1 billion and $1.8 billion – and the
largest number of user accounts – over 600,000. (GX-1320A; GX-1320B; GX-1320C; GX-
1320D) (PSR ¶ 14).

       Liberty Reserve was originally conceived by Arthur Budovsky and co-defendant
Vladimir Kats in Brooklyn, New York, in approximately 2001, and became operational in late
2005. From his previous experience with “GoldAge” – a digital currency exchange business that
he ran with Kats – Budovsky was aware that a substantial volume of digital currency transactions
were related to Internet investment schemes called high-yield investment programs (“HYIPs”),
which he knew to be online Ponzi schemes. Budovsky was also aware that digital currencies



                                                 3
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 4 of 46



were used by other online criminals, such as credit card traffickers and identity thieves. (PSR ¶
15).

        Budovsky and Kats designed Liberty Reserve to appeal to these online criminals in order
to capture their business. Among other things, Budovsky and Kats set up Liberty Reserve to
have weak anti-money laundering (“AML”) controls and allowed users to move money
anonymously through Liberty Reserve’s system, regardless of the volume or provenance of the
funds. Budovsky and Kats also marketed Liberty Reserve specifically to HYIP operators and
other criminal clientele. (PSR ¶ 16).

       In May 2006, Budovsky and Kats were arrested and later pled guilty to operating
GoldAge as an unlicensed money transmitting business. Following their arrests, over the next
two years, Budovsky and Kats moved Liberty Reserve’s operations offshore to Costa Rica in an
attempt to insulate themselves from the reach of U.S. law enforcement. At the end of this period,
Budovsky pushed Kats out of Liberty Reserve and became the sole beneficial owner and
principal operator of the company, with final decision-making authority over company decisions.
Budovsky maintained this role until Liberty Reserve was shut down in May 2013. (PSR ¶ 17).

        During the time period from 2009-2013, Liberty Reserve reached the height of its
activity. In late 2012, Liberty Reserve handled a transactional volume of over $300 million per
month (GX-1320E), a significant portion of which came from users in the United States.
Budovsky knew that a substantial number of these transactions were connected to HYIPs and
other online criminal activities, and continued to operate Liberty Reserve to cater to these
customers. Among other things, Budovsky and his co-conspirators intentionally failed to
implement effective AML controls at Liberty Reserve. Budovsky and his co-conspirators also
took steps to prevent the Costa Rican regulatory authorities and Liberty Reserve’s own
compliance officials from discovering the criminal transactions flowing through Liberty Reserve.
(PSR ¶ 18).

        Liberty Reserve ultimately grew into a financial hub for cybercriminals around the world
who used it to launder billions of dollars of criminal proceeds derived from HYIPs, credit card
trafficking, stolen identity information, and computer hacking. As set forth in his plea agreement
with the Government, Budovsky was responsible for laundering between $250 million and $550
million in criminal proceeds, which represents a conservative estimate of the amount of
laundered funds originating from Liberty Reserve users in the United States. (PSR ¶ 19).

        Budovsky also increased his own profits by participating in fraudulent ventures and side
businesses with his co-conspirators that were related to Liberty Reserve. In late 2010, Budovsky
created a HYIP with co-defendant Azzeddine El Amine that was modeled on profitable HYIPs
that used Liberty Reserve. From February 2011 through May 2013, Budovsky and El Amine
jointly owned Swiftexchanger, one of the largest exchangers of Liberty Reserve currency. At the
same time, Budovsky and El Amine falsely reported to Liberty Reserve’s own customer
verifications department that Swiftexchanger was owned by a third party. Budovsky also stole
money from several HYIP operators by freezing their Liberty Reserve accounts and keeping the
money for himself. (PSR ¶ 20).



                                                4
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 5 of 46



        All totaled, Budovsky netted over $25 million in profits from his criminal activity.
Budovsky caused the majority of these criminal proceeds to be transferred to several different
countries through a complex network of third-party and nominee accounts that he controlled in
order to obfuscate the location, ownership and control of the funds. (PSR ¶ 21).

                                 How Liberty Reserve Worked

       A.      Liberty Reserve Website

       To use the Liberty Reserve digital currency, commonly referred to as “LR,” a user first
needed to open an account through the Liberty Reserve website: www.libertyreserve.com. (GX-
110A). To register for an account, the user just needed an email address and was required to
provide basic identifying information, such as name, address, and date of birth. (PSR ¶ 22).

        However, unlike mainstream banks or online payment processors, Liberty Reserve did
not require users to validate their identity information in any way when opening an account. As
a result, a criminal could easily open a Liberty Reserve account using identity information that
was fabricated or stolen. For example, during the course of the investigation, an agent opened an
undercover Liberty Reserve account under the name “Joe Bogus,” with the address, “Completely
Made Up City, New York, United States.” (GX-120A; GX 120I). Users commonly established
Liberty Reserve accounts under blatantly fictitious names, often using names signaling the users
were involved in criminal activity, such as hacking or “carding” (i.e., selling stolen credit card
data, also known as “cvvs,” “fulls” or “dumps”). Examples include:

       card biz                          FullzGalore                     hacker account
       carder boss                       fullzseller                     hell hacker
       Carder Profit                     GANG DUMPS                      Master Carder
       Cardshopteam                      Good Hacker                     mR dumps
       cc carding fullz                  Great Hacker                    Oliver Hacker
       ccv hacker                        hack banks                      Public Dumps
       CooLHacK                          Hack Crew                       real hacker
       Cyber Hacker                      HACK DUMPS                      Russia Hackers
       Devil Hack                        hack good                       seller hacker
       dumpfullz101                      hack great                      Shop Fullz
       dumps lord                        Hack Lord                       Spamming Tools
       Dumpsmall                         hack master                     tasty hacker
       dumpsseller89                     hack more                       viet hacker
       freshdumps                        hack pro                        wise hacker
       Fullz.CVV                         hack them                       worlddumps
       Fullz Trader                      Hack Tools                      young carder


(GX-1039A, GX-1039B, GX-1039C, GX-1039D, GX-1039E, GX-1039F, GX-1039G
(additional examples of usernames reflecting criminal activity)) (PSR ¶ 23).




                                                5
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 6 of 46



        Once a user established an account with Liberty Reserve, the user could then conduct LR
transactions with other Liberty Reserve users through the Liberty Reserve website. That is, the
user could receive transfers of LR from other Liberty Reserve accounts, and could likewise
transfer LR from his own account to other users’ Liberty Reserve accounts. (PSR ¶ 24).

        However, unlike with mainstream banks or legitimate online payment processors, a
Liberty Reserve user could not fund his account by transferring money to Liberty Reserve
directly. Nor could a Liberty Reserve user withdraw funds from his account directly. Instead,
Liberty Reserve users were required to purchase and redeem LR by using third-party
“exchangers.” These exchangers were individuals or entities separate from Liberty Reserve who
bought and sold LR in bulk from Liberty Reserve (or other sources, such as other exchangers) in
exchange for mainstream currency. The exchangers in turn would buy and sell this LR in
smaller transactions with end users in exchange for mainstream currency. (PSR ¶ 25).

        In order to fund a Liberty Reserve account, a Liberty Reserve user was required to
transmit mainstream currency to an exchanger of the user’s choosing. Upon receiving the user’s
payment, the exchanger credited the user’s Liberty Reserve account with a corresponding
amount of LR, by transferring LR from the exchanger’s Liberty Reserve account to the user’s
Liberty Reserve account. (GX-100A). If a Liberty Reserve user wished to withdraw funds from
his account, the user was required to transfer LR from his Liberty Reserve account to an
exchanger’s Liberty Reserve account, and the exchanger then would make arrangements to send
the user a corresponding amount of mainstream currency. (GX-100B) (PSR ¶ 26).

        Because transferring money through the system entailed moving money through multiple
financial institutions or money transmitting businesses, there were several separate fees that
users incurred. First, to send real currency to a Liberty Reserve exchanger (for the exchanger to
convert into Liberty Reserve), a user would typically have to send the money through a bank, or
a money transmitter such as Western Union, which would charge a fee for the transfer. Second,
the Liberty Reserve exchanger would then charge the user for exchanging the user’s currency for
LR and sending the LR to the user’s Liberty Reserve account. These fees would typically be
high – amounting to five percent or more of the funds being exchanged. Finally, once the LR
was in the user’s Liberty Reserve account, Liberty Reserve would charge the user a fee for any
transfer the user made from his account to any other user’s LR account. In order for the other
LR user to convert the funds received back into real currency, that user too would have to pay a
series of fees – to Liberty Reserve, and then to an exchanger – in order to cash out the funds.
Accordingly, moving significant amounts of money through Liberty Reserve tended to be more
cumbersome and expensive than moving money through traditional financial institutions. (GX-
100A, GX-100B (showing typical fees associated with each transaction)) (PSR ¶ 27).

       B.      Absence of AML Controls

      Budovsky, along with Kats and the other co-conspirators, consciously chose to
implement weak AML controls at Liberty Reserve to facilitate its use by online criminals.

       •    First, Liberty Reserve intentionally adopted ineffective “know your customer” or
            “KYC” policies. In particular, Liberty Reserve took the position that its customers

                                                6
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 7 of 46



            were the exchangers, not the end users. Accordingly, Liberty Reserve attempted to
            verify only the bona fides of its exchangers, and not the identities of its end users.
            This was a conscious choice by Budovsky and his co-conspirators to make Liberty
            Reserve more appealing to online criminals, who needed to transfer money
            anonymously and did not want to provide extensive identification information. The
            registration process for a Liberty Reserve user account reflected this policy – anyone
            could open an account at Liberty Reserve with simply an email address and no
            validated identity information was required. Budovsky knew that users would
            routinely register with identity information that was fictitious or fabricated.

       •    Second, Budovsky consciously chose not to implement an effective system to monitor
            Liberty Reserve transactional activity. In particular, there were no transaction limits
            at Liberty Reserve – i.e., there were no ceilings on transaction amounts or account
            balances that would trigger further scrutiny if they were exceeded. As a result,
            criminals were able to move tens or hundreds of thousands of dollars through Liberty
            Reserve, without being required even to verify who they were, or verify what type of
            business they were transacting through Liberty Reserve’s system.

       •    Third, Budovsky and his co-conspirators consciously chose not to report and take
            action to remedy suspicious activity on Liberty Reserve’s system to law enforcement.
            Budovsky knew that criminal enterprises were regularly moving large amounts of
            money through Liberty Reserve and knew – or had the ability to identify – the
            specific accounts they were using to do so. Yet, he did not report these accounts to
            law enforcement. Although Liberty Reserve did respond to occasional law
            enforcement requests for information about Liberty Reserve customers, Budovsky did
            not take any affirmative action to report suspicious activity to law enforcement.
            When Budovsky did freeze suspicious accounts, he typically did so in order to steal
            the money in the accounts for himself or for Liberty Reserve, and would take no
            action to make whole the victims of the crime that the money derived from or to
            report the account holders to law enforcement.

(PSR ¶¶ 28-31).

                                 The Creation of Liberty Reserve

       A.       Early Money Laundering Activity and Introduction to Digital Currency

       Budovsky and Kats conceived of Liberty Reserve in approximately 2001, at a time when
both were engaged in various money laundering schemes together. Budovsky and Kats were
longtime friends. Budovsky and Kats first met in or about 1991, when they both worked as
camp counselors at a summer camp located in Brooklyn, New York. (PSR ¶ 32).

       Beginning in or about 1999, Budovsky and Kats began participating in different money
laundering schemes. Among other things, they used a fake charity they created, named “United
Support for Humanity,” to help others evade taxes. Budovsky and Kats established “United
Support for Humanity” as a 501(c)(3) organization in 2000, and put up a website claiming that

                                                 7
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 8 of 46



the organization served to “improve the lives of children who are suffering from birth defects,
disease, blindness, and poverty.” (GX-502A; GX-502B). In fact, Budovsky and Kats used bank
accounts they opened under the name of this “charity” to accept checks from others; but, instead
of applying the money toward charity, Budovsky and Kats would simply return the “donations”
in cash to the donors (who knew the charity was a sham), minus a commission that Budovsky
and Kats kept for themselves. The donors thus were able to receive a fraudulent tax write-off
from the “donation” and thereby conceal the money from the Internal Revenue Service. (PSR ¶
33).

        Around the same time, from in or about 2000 to in or about 2003, Budovsky and Kats
laundered money for medical clinics in Brooklyn and Queens involved in no-fault auto insurance
fraud. The medical clinics at issue would pay car accident victims to undergo unnecessary
medical tests and procedures, for which they would submit fraudulent insurance claims. These
providers needed large amounts of cash to pay persons under the table who were involved in the
fraud (such as the accident victims). Yet they did not want to draw attention from banks by
withdrawing large sums of cash from their own accounts, so they recruited others who could
cash checks for them – including Budovsky and Kats. Budovsky and Kats agreed to accept
checks from these providers and deposit them into shell-company bank accounts that Budovsky
and Kats controlled. The names of the companies made it appear that the payments were for
legitimate services (viz., technology and accounting services). In fact, Budovsky and Kats would
simply deliver cash to the clinics in exchange for the checks, minus a commission that they
would keep for themselves. (PSR ¶ 34).

         It was through a similar scheme that Budovsky and Kats became familiar with digital
currency. In or about 2000, a cousin of Budovsky’s, named Ruslan Belanchuk, who was
involved in “spamming” for pornography websites 1, sought Budovsky’s help in concealing the
proceeds of his activity. Ruslan was paid for his spamming work in the form of “E-Gold,” a
popular form of digital currency in use at the time. Ruslan asked Budovsky and Kats to help him
set up an offshore bank account where he (Ruslan) could instruct E-Gold exchangers to send
bank wires when he exchanged his E-Gold for real currency. Kats set up an offshore bank
account for Ruslan (under Kats’ own name) at a bank in the Bahamas; Ruslan provided him with
the initial deposit to open the account. (GX-503; GX-503A). The bank went out of business,
however, before Ruslan made much use of the account. (PSR ¶ 35).

        B.       Failed Launch of Liberty Reserve in 2002

        After being introduced to digital currency, Budovsky and Kats became increasingly
interested in the concept. By 2002, Budovsky and Kats were already contemplating forming a
digital currency of their own, to be a competitor of E-Gold. Budovsky registered the domain
name “libertyreserve.com” for that purpose. They hired a programmer to help them create a
website that would essentially copy E-Gold’s service. (PSR ¶ 36).

1
  “Spamming” refers to the mass distribution of unsolicited email messages. Spamming often involves criminal
conduct, such as using hacked computers to send the messages or otherwise concealing the true source of the
messages through fraudulent or illegal means.



                                                       8
           Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 9 of 46




        In May 2002, Budovsky and Kats announced the anticipated “launch” of Liberty Reserve
on a website known as “PlanetGold” – a kind of blog related to digital currency, where Kats,
using the pen name “Ragnar Danneskjold,” 2 had begun posting interviews of people involved in
the digital currency business. In the post announcing the launch of Liberty Reserve, Kats posted
an “interview” of Arthur Budovsky, which was in fact a promotional piece that they worked on
together. The PlanetGold interview emphasized various planned features of Liberty Reserve that
Budovsky and Kats believed would appeal to the niche clientele they intended to serve: criminals
and others seeking to hide their money from law enforcement. For example, the “interview”
contains statements that

          •    Liberty Reserve was “based in the Caribbean” and stored client information on
               “offshore servers, and as a result was not subject to U.S. legal process;

          •    Liberty Reserve was “not a bank” and did not intend to “collect much in the way of
               personal information;

          •    Liberty Reserve clients could have “easy and discreet access to their funds” through
               “anonymous debit cards” linked to their accounts. 3

(PSR ¶ 37).

          C.       Operation of Digital Currency Exchange Businesses from 2002 to 2006

        Although the PlanetGold interview stated that Liberty Reserve would launch at the end of
May 2002, the programmer that Budovsky and Kats hired for the job did not follow through, and
the project was shelved. Instead, Budovsky and Kats turned their attention to operating digital
currency exchange businesses. In or about March 2002, Kats acquired an E-Gold exchange
business named “GoldAge” for approximately $15,000. Kats invited Budovsky to join him as a
business partner, which he did. Over the next several years, Budovsky and Kats acquired other
digital currency exchanges as well, including “Cambist,” “Autocambist,” “FastGold,” and
“AsianaGold.” Budovsky and Kats were 50/50 partners in all of these businesses. (PSR ¶ 38).

       In or about 2004, Budovsky and Kats hired Mark Marmilev to assist them with customer
support. Marmilev’s job quickly evolved, however, into a more technical role: he became
responsible for programming and maintaining the websites for Budovsky and Kats’ digital
currency exchange businesses, working with contract programmers in Eastern Europe whom
Budovsky hired over the Internet. (PSR ¶ 39).

       Through their operation of “GoldAge” and their other exchange businesses, Budovsky,
Kats, and Marmilev became intimately familiar with the world of “high yield investment

2
    The pen name was a reference to a character in the Ayn Rand novel, “Atlas Shrugged.”
3
  The PlanetGold interview also is replete with factual misrepresentations about Budovsky, including
misrepresentations that Budovsky was involved in operating an international import/export business, and that he had
a “university degree in international business and economics.”

                                                         9
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 10 of 46



programs” or “HYIPs” – which they knew to be online Ponzi schemes. These websites purport
to offer various “investment” opportunities (whether they be in stock trading, foreign currency
exchange, natural resources, or anything else) that promise patently unrealistic rates of return.
See Tyler Moore et al., The Postmodern Ponzi Scheme: Empirical Analysis of High-Yield
Investment Programs, available at http://tylermoore.ens.utulsa.edu/fc12.pdf. HYIPs
overwhelmingly rely on unscrupulous and under-regulated digital currency services as their
“payment processors” to collect “investments” from victims – because the payments are
“irrevocable” once made (per policy of the digital currency providers), and because HYIP
operators can receive and cash out money through these digital currency services anonymously.
(Id. at 9-10). (PSR ¶ 40).

       Through the customer support inquiries they received from users, Budovsky, Kats, and
Marmilev came to learn that most of the customers buying digital currency through their
exchange businesses were purchasing it to be able to invest in HYIPs. They further learned that
most of the customers cashing out large quantities of digital currency were HYIP operators.
(PSR ¶ 41).

        Budovsky and Kats’ digital currency exchange businesses grew into profitable
enterprises. In 2003, Budovsky and Kats quit their day jobs and began working full time on
running their digital currency exchanges. By in or about 2006, Budovsky and Kats were each
netting approximately $100,000 a year from the businesses. (PSR ¶ 42).

       D.      Launch of Liberty Reserve Website

       In the meantime, Budovsky and Kats continued to develop plans for their own digital
currency service, Liberty Reserve, which they launched in or about late 2005. The Liberty
Reserve website contained numerous misrepresentations. For example, the homepage featured a
logo supposedly reflecting the “accreditation” of Liberty Reserve by the “Global Digital
Currencies Association” – which was nothing more than a website created by Budovsky and
Kats themselves. (GX-511). The About Us page claimed (falsely) that Liberty Reserve was
incorporated under the laws of Panama (whereas, in fact, it was not incorporated anywhere at the
time) and that it had “offices worldwide, including New York, Germany, and France.” In fact,
Budovsky and Kats ran it simply out of their homes in Brooklyn. (GX-511A) (PSR ¶ 43).

        At the same time, the website subtly touted features that were designed to appeal to
HYIPs and other criminal users. For example, the About Us page emphasized that all payments
on the system were “irrevocable” and that one could “send payments to many users at once”
through a “batch pay” feature. These features were designed to appeal to HYIPs, which sought
out systems that allowed them to collect money from victims without the risk that the money
could be clawed back once the fraudulent nature of the scheme was exposed, and which also
needed the ability to send payments to many users at once in order to complete enough Ponzi
scheme cycles before ultimately imploding. The About Us page also emphasized users’ ability
to transfer money “anonymously,” and to convert Liberty Reserve currency through
“independent” exchangers. (PSR ¶ 44).




                                                10
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 11 of 46



        The use of “independent” exchangers added an additional layer of anonymity into Liberty
Reserve’s system, as it meant that Liberty Reserve would not be able to follow funds from its
system into the bank accounts where the funds were ultimately deposited after being converted
into real currency; only the exchanger used for the conversion would see this bank account
information. This feature was intended to help market Liberty Reserve to HYIPs and other
criminal users, who wanted assurance that they would be able to cash out their Liberty Reserve
proceeds anonymously and untraceably. In fact, the primary exchangers listed on Liberty
Reserve’s website – GoldAge, FastGold, and Cambist – were not “independent” at all; they were
controlled by Budovsky and Kats. (GX-511B). But Budovsky and Kats concealed their
association with these exchangers so that Liberty Reserve users would not be concerned that
their anonymity would be jeopardized by using them. (PSR ¶ 45).

       E.      E-Gold Investigation / Arrest and Conviction of Budovsky and Kats for
               Operating GoldAge

       In December 2005, not long after Liberty Reserve was launched, the offices of E-Gold
were raided by federal authorities as part of an investigation into the company for money
laundering and operating an unlicensed money transmitting business. Budovsky and Kats
became aware of the E-Gold investigation at the time, as it was reported in the media and
discussed in email lists and on discussion forums that Budovsky and Kats followed. (PSR ¶ 46).

        Approximately six months later, in May 2006, Budovsky and Kats themselves were
arrested and their homes searched in connection with an investigation by the Manhattan District
Attorney’s Office into the operation of their digital currency business, GoldAge – which, by that
point, had grown into the largest E-Gold exchanger based in the United States. Budovsky and
Kats were released on bail. They pled guilty in December 2006 to operating an unlicensed
money transmitting business in violation of New York state law, and were sentenced to
probation. (GX-1061) (PSR ¶ 47).

       F.      Operation of Liberty Reserve in the United States from 2006 to 2008

        Soon after their arrests, Budovsky and Kats returned to operating Liberty Reserve as well
as their other digital currency exchange businesses besides GoldAge (viz., Cambist,
Autocambist, and AsianaGold). Budovsky and Kats knew by this point that U.S. law
enforcement authorities were concerned about the money-laundering risks posed by digital
currency companies such as theirs, and that such companies could be prosecuted if they failed to
register in the United States as money transmitting businesses and submit to the AML rules
applicable to such businesses. Yet, Budovsky and Kats chose not to register Liberty Reserve or
their exchange businesses with federal or state authorities in the United States – precisely
because they knew it would require them to incorporate effective AML policies. (PSR ¶ 48).

        Instead, Budovsky and Kats sought to operate Liberty Reserve and their exchange
businesses surreptitiously. For example, they registered the domain names for the websites of
these companies under false names or nominees, and otherwise avoided associating their true
names with the companies. They also concealed their involvement in operating digital currency
companies from their probation officers, to whom they lied about their sources of employment,

                                               11
          Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 12 of 46



as well as the IRS, to whom they intentionally failed to report their income from their digital
currency companies. (PSR ¶ 49).

        To further insulate themselves from U.S. law enforcement, Budovsky and Kats decided
to incorporate and set up bank accounts for Liberty Reserve offshore in Costa Rica. Kats had a
contact in Costa Rica – Ahmed Yassine – who agreed to act as a nominee for Budovsky and
Kats. Yassine filed incorporation papers for Liberty Reserve in Costa Rica and set up bank
accounts for the company at Costa Rican banks – listing himself as the owner of the company.
In return, Budovsky and Kats helped Yassine set up a Liberty Reserve exchange service –
“Money Central Market” – and agreed to list it prominently on the Liberty Reserve website.
(PSR ¶ 50).

        Meanwhile, Budovsky and Kats continued to operate Liberty Reserve from their homes
in Brooklyn, with Marmilev’s help. Together, they grew the business by marketing it to HYIPs.
One of the main ways they did so was by creating their own HYIP discussion forum, where they
sought to promote Liberty Reserve to the HYIP users and administrators they hoped to attract to
the forum. At Marmilev’s suggestion, Budovsky and Kats hosted this forum at goldage.net – the
same domain name they had previously used to host the “GoldAge” digital currency exchange.
(GX-513 (goldage.net homepage); see also GX-520C (chat between Budovsky and Kats 4
evidencing their control of goldage.net)). They chose to host the GoldAge HYIP discussion
forum at the goldage.net domain name because many of the users coming to the GoldAge
website previously, when it was a digital currency exchange, were HYIP victims seeking to
“invest” in HYIPs or HYIP administrators seeking to cash out their proceeds; so the website
already had name recognition among the types of users they were seeking to attract to it now, in
its new incarnation. (PSR ¶ 51).

       Budovsky, Kats, and Marmilev used the GoldAge discussion forum to market Liberty
Reserve and their digital currency exchange businesses to HYIPs in various ways. They
prominently featured ads on the forum for Liberty Reserve and their exchange businesses. (GX-
513). They posted “sticky” discussion threads (threads that always stayed at the top of the
discussion lists) about “HYIPs that accept Liberty Reserve.” (GX-513A; GX-513B). And they
offered commissions to users of the forum if they could recruit HYIPs to start accepting Liberty
Reserve as payment. (GX-514). Budovsky and Kats’ objective was to popularize Liberty
Reserve with HYIPs, as they believed that HYIPs would be their most lucrative source of
business. (PSR ¶ 52).

        At the same time, Budovsky and Kats knew that HYIPs were online Ponzi schemes. 5
Indeed, at the very same time they were seeking to drive HYIP traffic to Liberty Reserve, they
posted a “Consumer Alert” on Liberty Reserve’s webpage, specifically warning users to watch
out for “scams and frauds” such as “HYIPs (High Yield Investment Program), or Ponzi

4
    In chats with Kats, Budovsky used the usernames “0@0” and “Seelen866.”
5
   In one chat between Budovsky and Kats, Budovsky confided to Kats that his understanding from speaking with
people in the “underground” was that HYIPs (referred to in the chat as “yasli” – a Russian word for nursery schools
used by Budovsky and Kats as code for HYIPs) were run by Russian organized crime groups such as the “RBN”
(i.e., “Russian Business Network”) to support their activities. (GX-520G at 3-4).

                                                        12
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 13 of 46



schemes.” (GX-512B). Budovsky and Kats were not concerned that the warning would drive
away HYIP business because they regarded HYIP victims as highly gullible and unlikely to be
deterred by such warnings. (PSR ¶ 53).

       Besides promoting Liberty Reserve on the GoldAge forum, Budovsky, Kats, and
Marmilev also promoted Liberty Reserve on other HYIP forums, of which “Talkgold” was the
most popular. (GX-515). Posing as ordinary users of the site (as they knew their posts would be
deleted if they were flagged for “spamming” or advertising on the site), Budovsky, Kats, and
Marmilev used their Talkgold accounts to subtly promote Liberty Reserve and disparage its
competitors. For example:

        •    In one post from March 2006, Marmilev posted a message using the username
             “Redd,” 6 in a discussion thread where users were discussing whether they should pull
             their money out of digital currency services given the legal action that had been taken
             against such services by U.S. law enforcement authorities. In response, “Redd” told
             users on the thread that they had nothing to worry about as long as they “[j]ust stick
             to [] non-US currencies that do not OPENLY work with or promote HYIPs” – in
             other words, as long as they used a digital currency like Liberty Reserve. (GX-
             515A).

        •    Budovsky likewise touted Liberty Reserve’s offshore status as a feature that would
             insulate Liberty Reserve accounts from the reach of U.S. law enforcement. For
             example, in one post-dated January 31, 2008, Budovsky, using the username “Opi8,” 7
             responded to a discussion about whether Liberty Reserve would block accounts and
             “honor court ordered requests from other governments, including the US.” “Opi8”
             wrote that he had “asked them [Liberty Reserve] the same question a few weeks ago,”
             and had been told that “only Costa Rican issued court orders and subpoenas can be
             enforced in Costa Rica,” adding: “Can someone imagine going to China with
             Canadian subpoena. They will simply laugh at you.” (GX-515D).

        •    In another post, dated December 15, 2009, Marmilev, using the username “Redd,”
             responded to a question from another Talkgold user asking whether Liberty Reserve
             or WebMoney (“WMZ”) – a Liberty Reserve competitor – had ever “blocked an
             account . . . only for the main reason that it had over 10k in it and was unverified.”
             “Redd” responded that he had once had more than $10,000 in a WebMoney account
             from a “questionable” source and that WebMoney had “asked for more info” about it.
             By contrast, “Redd” stated that he had “[n]ever had any problems with any amounts”


6
  Marmilev’s control of the “Redd” username is evidenced by a “Roboform” file found on his laptop, which is a
type of password-manager file containing login credentials for websites, which the “Roboform” application
automatically fills in upon visiting any website for which credentials are stored. Included in the Roboform file on
Marmilev’s computer were login credentials to various HYIP discussion forums, including the login credentials for
the “Redd” account on Talkgold. (GX-1021A).
7
  Budovsky’s control of the “Opi8” Talkgold account is evidenced by a Roboform file on his laptop, which includes
login credentials for the account, (GX-1002B), as well as chats between Kats and Budovsky in which he
acknowledges the account as his. (GX-520D).

                                                        13
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 14 of 46



            with Liberty Reserve, adding that “LR is much more tolerant towards shady
            businesses than [WebMoney].” (GX-515E) (emphasis added).

        •   In the same vein, Budovsky, in another post by “Opi8,” drew attention to the user
            verification policies implemented by E-Gold in an attempt to come into compliance
            with U.S. law while being investigated. Responding to a user who was asking
            whether anyone had passed the new verification policies, “Opi8” stated: “heh, why
            even bother? They have castrated e-gold so much, so it is literally 1 month away
            from being a regular bank. . . . The only wise thing e-g should do is sell themselves
            overseas.” (GX-515F).

(PSR ¶¶ 54-58).

       Through posts such as these, Budovsky, Kats, and Marmilev sought to draw HYIPs away
from Liberty Reserve’s competitors, based on the idea that Liberty Reserve was a more
hospitable service through which they could conduct their illegal business, because Liberty
Reserve lacked robust AML controls and operated outside the United States. Liberty Reserve’s
website also highlighted its position that its corporate administration and bank accounts were not
“under US jurisdiction,” in contrast to other digital currencies and online payment processors
like E-Gold and PayPal. (GX-110D) (PSR ¶ 59).

        Liberty Reserve’s business started growing in 2007 and 2008, as it became more and
more popular with HYIPs. Liberty Reserve customer support was handled during this time by
Budovsky, Kats, and Marmilev. In this role, Budovsky, Kats, and Marmilev would regularly see
evidence of HYIP Ponzi schemes cycling through Liberty Reserve’s system, marked at the
beginning by customer inquiries from users seeking to “invest” in an HYIP and then at the end
by customer complaints about the HYIP having run off with their money. Even when
specifically warned ahead of time about a Liberty Reserve account being used by a HYIP Ponzi
scheme, Budovsky, Kats, and Marmilev would advise Liberty Reserve users how to send money
to the account and then, when they later received user complaints following the HYIP’s collapse,
falsely tell the users they did not know anything about the account and had never received any
complaints about it before. (GX-531A (sample of customer service communications concerning
an HYIP)). 8 Budovsky, Kats, and Marmilev would also receive customer support inquiries from
HYIP administrators, asking whether Liberty Reserve would limit or block their accounts; they
would respond in the negative. (GX-530F at 2) (PSR ¶ 60).

        Besides HYIPs, Budovsky, Kats, and Marmilev were also aware that digital currencies
such as Liberty Reserve were also used by “carders” – i.e., individuals engaged in trafficking in
stolen credit card information and related crimes. For example, in operating GoldAge, they
would notice posts by “carders” discussing websites where users could buy stolen credit card
data using Liberty Reserve. (They or other moderators on the GoldAge forum would delete

8
 All of the communications in this exhibit sent to or from “support@libertyreserve.com” were copied to Budovsky,
Kats, and Marmilev, and those sent to or from “business@libertyreserve.com” were copied to Budovsky and Kats.
Marmilev used the alias “Frank” in these communications, while Budovsky used the alias “Kathy.”



                                                      14
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 15 of 46



these posts as “off topic.”) Budovsky, Kats, and Marmilev visited some of these websites and
saw that they required a username and password to access. (To join a carding site, one typically
must be vouched in by an existing member or must pay a significant entry fee.) Marmilev was
able to gain access to certain of these carding websites, as evidenced by login credentials for the
websites found on his computer. (GX-1021D) (PSR ¶ 61).

                         Liberty Reserve Relocates to Costa Rica (2008-2013)

        A.       Budovsky’s Emigration to Costa Rica and Split from Kats

        Beginning in 2007, as Liberty Reserve’s business was starting to grow, Budovsky began
traveling to Costa Rica to help set up an office for Liberty Reserve in San Jose. In March 2008,
Budovsky told Kats he had decided to move to Costa Rica permanently and obtain citizenship
there. (GX-521A) (PSR ¶ 62). 9

       Over the course of the next several months, Budovsky pushed Kats out of Liberty
Reserve. He was in a position to do so because he controlled Liberty Reserve’s domain name
and technical infrastructure (and had a close relationship with Marmilev, who was in charge of
maintaining that technical infrastructure), and because he controlled Liberty Reserve’s bank
accounts through Yassine, the nominal owner of the accounts. In a chat in May 2008, Budovsky
told Kats that he wanted to “restructure” their partnership. (GX-521C). Budovsky told Kats that
he (Budovsky) was “responsible for all aspects of [Liberty Reserve]” and that Kats had not done
enough over the previous two years to deserve to remain part of the business. (Id. at 4-5).
Ultimately, Budovsky agreed to pay Kats approximately $200,000 to buy him out of Liberty
Reserve. As to their other businesses, including their digital currency exchange businesses, they
remained 50/50 partners with respect to some of them and others were divvied up between them.
(PSR ¶ 63).

        B.       Liberty Reserve’s Application for Registration with SUGEF

       By relocating Liberty Reserve to Costa Rica, Budovsky hoped to operate Liberty Reserve
outside the reach of U.S. law enforcement. Budovsky also intended to operate Liberty Reserve
openly in Costa Rica, as a registered company, while at the same time concealing from Costa
Rican authorities his role in the company and Liberty Reserve’s criminal clientele. (PSR ¶ 64).

        On April 17, 2008, Liberty Reserve submitted an application to be registered with the
Superintendencia General de Entidades Financieras (“SUGEF”), Costa Rica’s regulatory
authority for the prevention of money laundering. (GX-600(T) at 1). The SUGEF application
hid Budovsky’s role in Liberty Reserve. Instead of reporting that Budovsky was Liberty
Reserve’s founder, beneficial owner and primary decision maker, the company reported to
SUGEF that Ahmed Yassine was the company’s sole legal representative, power of attorney and
owner. (GX-600(T) at 3). The use of Yassine as a nominee owner of Liberty Reserve had
certain advantages. Among other things, the SUGEF application required a criminal background

9
  Budovsky formally renounced his U.S. citizenship at the U.S. Embassy in San Jose, Costa Rica on July 27, 2011,
after obtaining Costa Rican citizenship by marrying a Costa Rican woman. (GX-1060).

                                                       15
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 16 of 46



check for the owner of the company requesting registration. (GX 602(T) at 1). With Yassine as
the official owner, Budovsky did not have to advise SUGEF of his previous conviction in New
York for running an unlicensed money transmitting business, which would have all but
eliminated Liberty Reserve’s chances of successfully registering. (PSR ¶ 65).

        In its application, Liberty Reserve also set forth its official “know-your-customer” policy;
namely, that its customers were the exchangers, and not the end users, because Liberty Reserve
did not “receive money directly from the . . . end-users” and its “direct contractual relationships”
were with the exchangers. (GX-600(T) at 2). As a result, Liberty Reserve claimed that under the
Costa Rican anti-money laundering laws, it was only responsible for verifying the exchangers
who bought and sold Liberty Reserve currency, and that the exchangers, in turn, were
responsible for verifying the end users. (Id. at 4). This allowed Liberty Reserve to preserve
what Budovsky and his co-conspirators knew to be one of the most attractive features of Liberty
Reserve to its criminal clientele – that it did not seek to verify the information of its end users,
which allowed criminals to use the Liberty Reserve system anonymously. (PSR ¶ 66).

        SUGEF, however, repeatedly requested proof from Liberty Reserve that it had
implemented robust anti-money laundering and compliance procedures, particularly with respect
to the company’s responsibility to monitor user activity, before it would approve Liberty
Reserve’s application. For example, on December 10, 2009, SUGEF asked Liberty Reserve to
describe “the oversight measures” that Liberty Reserve had in place to ensure that the exchangers
were properly verifying the end users. (GX-602(T) at 2). SUGEF also requested that Liberty
Reserve describe the implementation of “[p]olicies, procedures and controls for detecting,
evaluating and reporting to the Compliance Officer as well as to oversight entities regarding
suspicious operations,” in addition to the “physical and electronic monitoring procedures that the
Compliance Officer will use to detect unusual transactions,” and insisted that Liberty Reserve
change its compliance manual to include “tools and control guidelines that allow the timely
detection of money laundering related activities” by exchangers. (Id. at 3) (PSR ¶ 67).

       C.      Lack of Compliance at Liberty Reserve

       Budovsky did not intend to implement the AML controls that SUGEF was requesting
because it would likely cause HYIPs and other online criminals to abandon Liberty Reserve for
another digital currency with weaker AML policies. Budvosky, however, still wanted to run
Liberty Reserve openly in Costa Rica and needed to complete the registration process with
SUGEF. (PSR ¶ 68).

       Accordingly, Budovsky hired Marco Cubero as the General Manager of Liberty Reserve
in February 2010. Cubero had over 20 years of experience in the banking sector in Costa Rica
and had an impeccable reputation. Cubero also had close personal relationships with officials at
SUGEF and other financial regulatory and law enforcement agencies. Budovsky selected
Cubero because of his reputation and because he believed Cubero could use his connections at
SUGEF to push through the application. (PSR ¶ 69).

       By the time Cubero started at Liberty Reserve in March 2010, Budovsky had restructured
the company. Budovsky had removed Ahmed Yassine and installed Allan Hidalgo, the Chief of

                                                16
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 17 of 46



Operations, as the legal representative of the company. Budovsky also restructured Liberty
Reserve’s Board of Directors to include Cubero as President and Hidalgo as Secretary, and
redistributed ownership of the company to his Costa Rican boyfriend, Kelsin Varela (70%
owner), Hidalgo (20% owner), and Cubero (10% owner). Liberty Reserve announced these
changes in a letter to SUGEF on February 9, 2010. (GX-605(T) at 1-3). As in its original
application, Liberty Reserve failed to reveal that Budovsky was, in fact, Liberty Reserve’s
principal beneficial owner and primary decision-maker. (PSR ¶ 70).

        One of Cubero’s top priorities when he arrived at Liberty Reserve was to complete the
SUGEF application – a task that Budovsky had discussed with him personally when Budovsky
hired him. As part of that effort, Cubero attempted to implement substantial anti-money
laundering and compliance policies and procedures at Liberty Reserve. For example, Cubero
updated the company compliance manual and tasked the Verifications Department to obtain
updated verification documents for all of the exchangers that did business with Liberty Reserve.
Cubero did not agree with Liberty Reserve’s “know-your-customer” policy that the exchangers
were the only customers that needed to be verified, and always planned to institute verification
procedures for end users. (GX-621(T)). However, he agreed to abide by this policy temporarily
until the exchangers had been properly verified. (PSR ¶ 71).

        Cubero also pushed Budovsky to implement an alert system to monitor suspicious
transactions and to hire a Compliance Officer to take over customer verification and other
compliance functions, both of which were requirements for SUGEF registration. (GX-622(T) at
3, 5). Budovsky ignored or delayed acting on Cubero proposals for a period of over eight
months. (GX-624; GX-625; GX-627 at 3; GX-628(T) at 2-3; GX-629). As a result, Cubero
became more and more frustrated and concerned with Budovsky’s attitude towards compliance.
(PSR ¶ 72).

        Cubero also became concerned with the lack of transparency at Liberty Reserve and his
inability to obtain any information about Liberty Reserve’s customers and transactional data.
From the moment he started at Liberty Reserve, Cubero had asked Budovsky for full access to
the Liberty Reserve databases so that he could understand the nature of Liberty Reserve’s
business (both from a marketing and a compliance standpoint) and have “maximum control over
[its] operations.” (GX-620(T)). Budovsky repeatedly refused to give Cubero that access. (PSR
¶ 73).

        For example, on May 26, 2010, Cubero emailed Mark Marmilev, Budovsky’s co-
conspirator who controlled Liberty Reserve’s database, asking for a series of reports of basic
customer and transaction information so that he could respond to SUGEF, and requesting
administrative access to the database so that Cubero could run reports himself. (GX-623). The
next day, Marmilev forwarded Cubero’s email to Budovsky, who responded that Cubero should
only be given certain information – including a figure that intentionally misrepresented the total
number of LR dollars (“LRUSD”) in the Liberty Reserve system. (GX-1001A). Budovsky
further told Marmilev that “[a]ccess to the system will not be granted [to Cubero] even if his life
would depend on it.” (Id.) (PSR ¶ 74).




                                                17
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 18 of 46



        Cubero and Budovsky continued to clash over Cubero’s lack of access to information and
Budovsky’s lack of transparency. In an email exchange in early June 2010, Cubero sent
Budovsky a list of numerous requests that Budovsky had still not acted on, including hiring a
Compliance Officer, implementing an alert system to track suspicious transactions, and
providing Cubero with access to the Liberty Reserve database as well as regular data reports, all
of which gave him serious concerns. (GX-624). The following day, Budovsky sent a reply to
Cubero in which he again denied or deflected Cubero’s requests and maligned his leadership and
integrity. (GX-625) (PSR ¶ 75).

        A few weeks after this email exchange, and continuing into the fall of 2010, Budovsky
had email discussions with his co-conspirators – including Marmilev, Hidalgo, and Max
Chukharev, the head of Liberty Reserve’s IT Department – about creating a “Government
Administrative Area” (“GAA”) within the Liberty Reserve database where SUGEF could review
false data regarding Liberty Reserve accounts and transactions. (GX-1050B(T), GX-1050C,
GX-1050D). In a June 24, 2010 email from Marmilev to Budovsky and Chukharev, Marmilev
explained the features of the GAA; namely, the GAA would allow the “Costa Rican government
[to] view a few statistics,” but the “majority of these statistics are going to be fake,” and the data
could be manipulated by a “Hidden Admin” (“HA”) who would be invisible to the regulatory
authorities. (GX-1050B(T)). Once operational, Liberty Reserve would be able to use these
systems to feed regulators fake statistics concerning the volume of transactions passing through
Liberty Reserve and to hide account information for any specific accounts flagged in the HA.
Budovsky also intended to feed these same fake statistics to Liberty Reserve’s own Compliance
Officer, Silvia Lopez, when she was hired in November 2010. (GX-1050E). In this way,
Budovsky and his co-conspirators actively thwarted the efforts of Cubero and Lopez to
implement meaningful anti-money laundering compliance measures at Liberty Reserve. (PSR ¶
76). 10

        Budovsky’s co-conspirators slipped up on one occasion in January/February 2011 and
mistakenly provided Cubero and Lopez with reports that included a large amount of customer
information and transactional data for Liberty Reserve users and exchangers. (GX-630(T), GX-
630.1, GX-630.1A, GX-630.2, GX-630.2A, GX-631, GX-631A(T), GX-632(T), GX-632A).
Cubero noticed suspicious activity in the data, including that over 100 user accounts contained
balances over $10,000, and immediately sought to verify these users (GX-634.1(T), GX-
634.1A(T)). Marmilev realized the mistake and sent an email to Budovsky and the programmer
who sent the reports in which he stated: “Do not send anything to marco@lr and silvia@lr [the
company email accounts of Cubero and Lopez]. Disable any automatic messages from our
system to these emails.” (GX-1050F(T)). Cubero was ultimately told by letter from the
Compliance Committee that the company would not verify these users. (GX-636(T)). Although
Silvia Lopez signed this letter, she disagreed with the decision, but was outvoted by Hidalgo and
Liberty Reserve’s legal officer, Angie Portela. (PSR ¶ 77).



10
   The GAA was the culmination of an idea that Budovsky and Kats had discussed as early as June 2008. In a chat
on June 11, 2008, Budovsky outlined his idea to give SUGEF access to certain Liberty Reserve data so that SUGEF
will “not ask any questions” and so that Liberty Reserve could appear “legitimate looking” and “transperent” [sic].
(GX 521E).

                                                        18
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 19 of 46



        Cubero resigned shortly thereafter. In his resignation letter, Cubero explained that he
was leaving because of the lack of transparency and access to information at Liberty Reserve.
Cubero noted that he had “not been provided with the tools to obtain the necessary information”
about the company, including “access to the computer systems” and reports of basic transactional
data, and that he was unwilling to represent and be accountable for a company about which he
had “no information.” (GX-637(T)) (PSR ¶ 78). 11

        After Cubero’s departure, Budovsky installed his co-conspirator, Allan Hidalgo, as
General Manager. Lopez continued to try to implement compliance reforms, but was
unsuccessful. For example, although Liberty Reserve did eventually implement an alert system
to monitor suspicious transactions, the system only monitored exchanger transactions, not end
user transactions. Hence, the system ensured that illicit transfers by Liberty Reserve’s criminal
clients would never be detected. (PSR ¶ 79).

        Like Cubero, Lopez gradually became more and more concerned about the lack of
transparency and attention to compliance at the company. Lopez became so concerned that on
May 29, 2011, she filed a Suspicious Activity Report with the Unidad de Inteligencia Financiera
(“UIF”), the agency that investigates financial crimes in Costa Rica. (See 3511-01 and 3511-
01(T)). In her report, Lopez detailed over ten practices or specific instances of conduct at
Liberty Reserve that raised serious compliance concerns in her mind. (Id.). These included (i)
the lack of access to customer information, (ii) the company’s choice not to monitor end users
for suspicious transactions, (iii) the fact that employees of the company, including officers, used
false names to communicate with customers, (iv) the fact that the company’s servers were shut
down by U.S. law enforcement authorities, and (v) the fact that an employee had found reports
on the Internet that Budovsky had been convicted in the past for a charge similar to money
laundering. (Id.). Lopez was eventually fired in November 2011, a few days before Budovsky
orchestrated a fake “sale” of Liberty Reserve and ostensibly shut down its operations in Costa
Rica. (PSR ¶ 80).

        D.       Creation of a HYIP with Azzeddine El Amine

       During this same time period, Budovsky was also working with co-defendant Azzeddine
El Amine to create and run a HYIP. In 2009, Yassine had introduced El Amine to Budovsky. El
Amine eventually replaced Yassine as a close associate of Budovsky. In early 2010, Budovsky
proposed to El Amine that they work together to create a HYIP website. They agreed that
Budovsky would do the marketing, and El Amine would work on the technical part of the
website. (PSR ¶ 81).

        In an email dated March 23, 2010, Budovsky sent El Amine links to the websites of three
successful HYIPs, based on Budovsky’s review of their accounts within the Liberty Reserve
transactional database, to use as models. (GX 708). Budovsky and El Amine agreed to split the

11
   At the end of March 2011, a few weeks after Cubero resigned, Liberty Reserve’s computer servers in the
Netherlands were seized as a result of a criminal investigation into Liberty Reserve by U.S. law enforcement
authorities in Las Vegas. In a chat between Budovsky and Marmilev on April 4, 2011, Budovsky speculated that
Cubero – who he referred to as the “banker” who received the report “that he wasn’t supposed to” – was responsible
for the seizure. (GX-1002A(T) at 3-4).

                                                       19
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 20 of 46



proceeds of their new HYIP – originally Budovsky received 60% and El Amine received 40%
(GX 708, GX 709), but later these percentages were reversed. Budovsky sent El Amine money
through the Liberty Reserve system to fund the start-up costs associated with the HYIP and so
that El Amine could make small trial investments in various HYIPs to see how they worked.
(GX 710, GX 712). Budovsky also decided when the HYIP would become operational. In an
email dated April 14, 2010, El Amine told Budovsky that he was ready to begin and was “just
waiting for [his] signal to start.” (GX 710) (PSR ¶ 82).

         Budovsky and El Amine were aware that the HYIPs that they were using as models were
Ponzi schemes. For example, at one point, just as El Amine had finished copying the so-called
“investment plans” from a website called Infinitiva.com, that website appeared to shut down. El
Amine asked Budovsky if the operators of Infinitiva had run away with their “investors” money.
(GX 701). In response, Budovsky looked at Infinitiva’s account in the Liberty Reserve
transactional database, to “see the magic behind them” and concluded that Infinitiva “[did] not
look like they [would] run away yet.” (Id.). In an email exchange in August 2010 about a
potential investment opportunity that El Amine had forwarded to Budovsky, Budovsky rejected
it because he believed it was a HYIP and further stated, “Unless you think there is a singly hyip
[t]hat is real, i dont see a reason to even waste time on that.” (GX 719) (PSR ¶ 83).

         El Amine created three different HYIP websites because Budovsky explained to him that
it took a while for a HYIP to become popular, so while one is winding down, the other needs to
be established and gaining popularity. El Amine presented the three HYIP websites to Budovsky
for his feedback and approval. (GX 714). The HYIP that Budovsky ultimately chose to pursue
was called Working Capital Group. As Budovsky and El Amine never intended to invest the
money they received through their HYIP, the Working Capital Group website contained
numerous misrepresentations about the intended use of investor funds and expected returns. (GX
724) (PSR ¶ 84).

        Budovsky drew upon his knowledge of the online HYIP world in promoting Working
Capital Group. In September 2010, Budovsky advised El Amine to find the most popular HYIPs
and “then do [a] search for them and see where they advertise.” (GX 722). Budovsky further
advised El Amine that he should use online services such as Alexa to understand the
“clickstream” – or “referrer traffic” – for the most popular HYIPs, so that he could discover the
websites from which the most popular HYIP websites were getting their customers. (Id.).
Budovsky and El Amine decided that they would begin their advertising campaign on an HYIP
monitoring website called “incredible-earnings.com,” and then later advertise on the Talkgold
forum as well. (GX 723). In the end, Budovsky and El Amine did not devote much effort into
marketing their HYIP website after they created it, and it made only minimal profits. Budovsky
and El Amine eventually abandoned the HYIP in late 2011 in favor of more lucrative joint
ventures, such as Swiftexchanger. (PSR ¶ 85).

       E.      Joint Ownership of Swiftexchanger

       From February 2011 through May 2013, Budovsky and El Amine jointly owned a Liberty
Reserve exchanger called Swiftexchanger, which would eventually become one of the largest
exchangers by volume of LR currency. From February 2011 to May 2013, when Liberty

                                               20
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 21 of 46



Reserve’s operations were shut down, Swiftexchanger’s transactions within the Liberty Reserve
system totaled more than $35 million. As partners in Swiftexchanger, Budovsky and El Amine
split the profits from the business: Budovsky received 40% and El Amine received 60%. (GX
736, at 3) (PSR ¶ 86).

        Swiftexchanger was similar to other exchangers in that it bought and sold LR to and from
“retail” users (i.e., end users) for a fee. Approximately 31% of the end users who purchased LR
currency from Swiftexchanger were known to be located within the United States, based on the
address provided in the wire transfer memo field. (GX 827). Swiftexchanger did not take any
steps to verify the identity or location of its users or the source of their funds, even for large
transactions, as evidenced by the successful undercover transactions involving more than
$10,000. In addition to serving its retail customers, Swiftexchanger eventually became the only
“wholesaler” of LR currency. (GX 734). As a result, exchangers transferred millions of dollars
to Swiftexchanger to purchase LR currency. (PSR ¶ 87).

       Budovsky helped El Amine create the Swiftexchanger website. For example, on July 5,
2011, Budovsky sent El Amine an email attaching a detailed script he had drafted for the
“Frequently Asked Questions” link on the Swiftexchanger website. (GX 751). Budovsky asked
El Amine to review the document and to let him know “if something [was] not right” so that he
“[could] change it.” (Id.) (PSR ¶ 88).

        Soon after Budovsky and El Amine created Swiftexchanger, they sought to have
Swiftexchanger “verified” by Liberty Reserve. The benefits of being a “verified” exchanger
included being listed on the Liberty Reserve website and having a Liberty Reserve account
number that began with “X” (to signify an official exchanger). However, in the Liberty Reserve
system, exchangers were supposed to be third-party entities, independent from Liberty Reserve.
In order to hide their ownership of Swiftexchanger from Liberty Reserve’s compliance
department, Budovsky and El Amine misrepresented to Liberty Reserve that Swiftexchanger was
owned by a friend of Budovsky’s, a Ukrainian citizen living in Germany named Anatoly Gursky.
Budovsky and El Amine submitted copies of Gursky’s passport and utility bills to Liberty
Reserve’s verifications department. (GX 727, 728, 729, 729(T), 661A, 661(T)). When asked by
Liberty Reserve to provide a notarized income statement for Gursky, Budovsky drafted a false
response that El Amine then forwarded to Liberty Reserve. (GX 730, 731). The official
verification process was taking too long, so Budovsky asked Hidalgo to intervene, and
Swiftexchanger became a verified exchanger. (PSR ¶ 89).

        El Amine maintained Swiftexchanger’s bank account at a company called Technocash in
Australia. By mid-2011, Technocash was repeatedly informing Swiftexchanger that wire
transfers into Swiftexchanger’s account were being recalled by the sending bank, based on
allegations that the transfers were fraudulent. (GX 741, 742, 744). Rather than comply with
Technocash’s request to return the wire to the sender’s account (which had likely been
compromised), El Amine replied to Technocash that Swiftexchanger had already funded the
user’s Liberty Reserve account, and therefore it could not return the money. In truth, El Amine
and Budovsky had not funded the user’s LR account, and simply kept the amount of the wire
transfer for themselves. In addition, they frequently also “froze” that user’s LR account and kept
those funds for themselves as well. (PSR ¶ 90).

                                               21
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 22 of 46




        Budovsky and El Amine worried that Technocash might close the Swiftexchanger
account due to the numerous fraud complaints and requests for chargebacks, so they frequently
transferred money from the Swiftexchanger account to other accounts controlled by Budovsky
and held in the name of nominee owners and shell companies, such as “Business Logic” and
“Admiral Trading.” (GX 749). When there was a large balance in the Swiftexchanger account,
Budovsky directed El Amine to “flush” (i.e., transfer) the funds from Swiftexchanger’s
Technocash account to the Business Logic Technocash account. For example, on December 23,
2011, Budovsky wrote to El Amine, “please don’t forget to transfer the high balances from
swift[exchanger].” (GX 774). Similarly, on March 23, 2012, Budovsky wrote to El Amine,
“before I forget, clean the TC [Technocash account] not to keep funds there, I will send them
away right away.” (GX 782). By “send them away” Budovsky was referred to the fact that he
would transfer funds out of the Business Logic account to another account under Budovsky’s
control, such as the Admiral Trading account. (PSR ¶ 91).

       F.      Freezing Liberty Reserve Accounts of HYIP Operators

        Budovsky also increased his profits by freezing the accounts of HYIP operators and
keeping the money for himself or for Liberty Reserve. By monitoring the Liberty Reserve
transactional database, Budovsky was able to follow the life cycle of HYIPs that used Liberty
Reserve. Typically, the balance in these accounts would gradually build up, as the HYIPs
attracted “investors.” The reputation of the HYIPs would become more favorable as the earliest
“investors” received their “returns,” thereby attracting more “investors.” At some point, the
HYIP operators would stop paying their “investors,” and instead would cash out the balance of
their Liberty Reserve accounts through exchangers. This distinctive pattern of boom and bust
can be seen, for example, in a graph of the account balance of the HYIP “TVI Express” over
time. (GX 1031B) (PSR ¶ 92).

        When Budovsky noticed that the HYIPs were starting to cash out large quantities of LR
currency, he would often let them withdraw some portion of it, but would “freeze” the rest. He
did this (as opposed to freezing the entire amount) in order to preserve Liberty Reserve’s
reputation among HYIP operators, who were Liberty Reserve’s most important customers.
Budovsky knew that HYIP operators regarded losing $100,000 or $200,000 from their LR
accounts as an acceptable cost of running their (illegal) business, and that even after losing such
amounts, they would continue to do business with Liberty Reserve. This process is set out
clearly in a chat between Yassine and El Amine from August 2010, in which Yassine
(“Creative”) described to El Amine (“Moro”) how Budovsky would monitor the accounts of
HYIPs and decide when to freeze them. (GX 828, 828(T)). Yassine explained that because
HYIP operators are engaged in “stealing” from their investors, “they don’t care if they lose that
money” – i.e., the money that Budovsky blocked. (Id.) (PSR ¶ 93).

        For example, in May 2011, Budovsky noticed three Liberty Reserve accounts linked to
HYIPs. Budovsky asked Marmilev to look at these accounts “for exit tax / verification
implementation,” which was their code language for freezing all or part of an HYIP’s Liberty
Reserve account. (GX 1001H). Later that month, Budovsky reminded Marmilev to look at two
of the accounts, saying “my hands are itching,” meaning that Budovsky was eager to get his

                                                 22
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 23 of 46



hands on the money in those accounts. (GX 1020A). A few days later, Budovsky again asked
Marmilev about the two accounts, and also proposed some possible explanations for freezing the
accounts. (GX 1001I). The options included claiming that Liberty Reserve had received a
“subpoena” for all or part of the account balance, and claiming that the account was undergoing
“verification,” parenthetically noting that such verification would be “to death and beyond.”
(Id.). “Death and beyond” signified that Liberty Reserve would request verification documents,
with increasingly impossible particularity, until the owner of the account gave up in frustration.
Budovsky also noted that if the owners of the accounts in question “are not working via internet,
it may not effect as much the internet reputation” of Liberty Reserve, meaning that the freeze of
an account belonging to an obscure HYIP without much of an internet presence would not
negatively affect Liberty Reserve’s reputation among HYIPs. (Id.) (PSR ¶ 94).

        On June 5, 2011, Marmilev responded to Budovsky and recommended that Budovsky tell
the owners of the frozen accounts that Liberty Reserve had received subpoenas for the accounts.
(GX 1049). Marmilev noted that the balances in the two accounts singled out by Budovsky were
$1,220,408 (the Delbeke account) and $1,125,717 (the TVI Express account). (Id.). Marmilev
also found another account belonging to TVI Express containing $614,303. (Id.). The following
day, Budovsky made notes in the “admin notes” field of each of the LR accounts, saying
“Verification to death and beyond. DO NOT RELEASE WIHTOUT EP APPROVAL.” (GX
1030, 1032). “EP” referred to Eric Paltz, the alias Budovsky used at Liberty Reserve. (PSR ¶
95).

        The freeze of Delbeke’s account prompted Delbeke to send email complaints to Liberty
Reserve. Budovsky responded that Liberty Reserve had “been forced, by a valid court order, to
take this action.” (GX 1001K). When Delbeke demanded a copy of the court order, Budovsky
responded that a “gag order” prohibited him from discussing the details of the court order with
Delbeke. (Id.). When Delbeke filed a lawsuit against Liberty Reserve in Costa Rica, seeking the
unfreezing of his account, Liberty Reserve had no choice but to release the funds in his account.
On August 3, 2011, Liberty Reserve wrote a letter to UIF claiming that the existence of a court
order was merely a “misunderstanding.” (GX 645, GX 645(T)). Although the letter was signed
by Compliance Officer Silvia Lopez, it was drafted by Liberty Reserve’s attorney Angie Portela.
(PSR ¶ 96)

        Although Budovsky was ultimately unable to profit from the freeze of the Delbeke
account, the same was not true of the freeze of the TVI Express accounts. Like Delbeke, TVI
Express complained to Liberty Reserve’s customer service department. Portela responded by
saying that TVI Express would “need to undergo a verification process.” (GX-1001P). For the
next four months, Portela and TVI Express traded emails regarding the verification process, with
Portela constantly asking for new and different verification documents, until ultimately TVI
Express abandoned its attempt to have its accounts unfrozen. (Id.) (PSR ¶ 97).

       G.      Fake “Sale” of Liberty Reserve

       By mid-2011, Budovsky realized that his efforts to obtain a license from SUGEF to
operate in Costa Rica would not succeed. On August 22, 2011, SUGEF informed Liberty
Reserve that it still had not met the regulator’s requirements for registration. In particular,

                                                 23
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 24 of 46



SUGEF noted several continuing deficiencies in Liberty Reserve’s anti-money laundering
policies and procedures. Notably, SUGEF rejected Liberty Reserve’s insistence that it had no
responsibility to monitor user activity, informing that company that

               Liberty Reserve S.A. is required to adequately identify its
               customers, and to review and document the true origin and
               destination of the funds received, in order to prevent money
               laundering and terrorist financing. Consequently, the company
               cannot attempt to free itself from this responsibility through an
               agreement, and it therefore must make the appropriate changes.

(GX-610(T) at 5) (PSR ¶ 98).

        In addition, SUGEF noted that Liberty Reserve failed to make Compliance Manual
changes that SUGEF requested almost two years before. For example, Liberty Reserve failed to
show how the company would implement “manual or computerized monitoring procedures that
the Compliance Officer uses or will use to detect unusual transactions,” policies focusing on
“oversight tools and guidelines that allow for the timely detection of activities related to money
laundering [by exchangers],” and a “procedure for notifying [SUGEF] of suspicious transactions
found during the analysis of unusual transactions.” (Id. at 6). SUGEF also noted deficiencies in
Liberty Reserve’s “know your customer” policy, procedures designating personnel responsible
for suspicious activity reporting, and anti-money laundering training for employees. (Id. at 7-9)
(PSR ¶ 99).

        Budovsky therefore devised a plan to orchestrate a fake “sale” of Liberty Reserve to a
shell company in Cyprus. In fact, Budovsky himself ran both ends of the deal. In the summer of
2011, Budovsky engaged a law firm in Cyprus, the Fuamari Group, to set up a shell company
called Ediago Holdings Limited, which would “act as the purchasers” of Liberty Reserve. (GX-
1001M). In September 2011, Budovsky sent an email to the Fuamari Group to offer them “some
pointers” on how the sale would take place. (GX-1001O). In the email, Budovsky stated that he
had hired the largest law firm in Costa Rica to “represent the sellers.” (Id.). He also gave the
Fuamari Group, which represented the buyer Ediago Holdings, “points that [they had] to insist
on as conditions of sale,” including instructions regarding the domain name, website
management, clients, customer support, sale price, and payment schedule. (Id.). With the
assistance of the Fuamari Group, Budovsky set up bank accounts in Cyprus in the name of
Ediago Holdings. (GX-1001R). Without El Amine’s knowledge, Budovsky made El Amine the
signatory on the bank accounts of Ediago Holdings. (Id.) (PSR ¶ 100).

        In November 2011, the “sale” of Liberty Reserve to Ediago Holdings was finalized. On
November 28, 2011, Liberty Reserve voluntarily withdrew from the SUGEF application process,
claiming it would “cease its business activities” in Costa Rica due to its “sale” to a buyer in
Europe. (GX-614(T) at 1). In its letter to SUGEF, Liberty Reserve falsely claimed that the
“move” to Europe was in part made because the law there was “more agile and secure and [the
alleged buyer] will be in a better position to balance its growth and comply with the international
rules that regulate its activities.” (Id. at 1-2) (PSR ¶ 101).



                                                24
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 25 of 46



       Budovsky also transferred Liberty Reserve’s money out of Costa Rica. In late November
and early December 2011, about $14.8 million was transferred from Liberty Reserve’s Costa
Rican bank accounts to the Ediago Holdings account at Hellenic Bank in Cyprus. (GX 901F,
GX 931A). Of this amount, about $13.5 million was transferred from Costa Rica to Cyprus
through a correspondent account at JP Morgan Chase Bank in New York, New York. (GX
931A). In late February 2012, the funds from the transfer to Ediago Holdings were transferred to
an account in Russia held in the name of “Olyp-47 LLC.” (GX 931A) (PSR ¶ 102).

       Even after the “sale” of Liberty Reserve to Ediago Holdings, Budovsky continued to
operate Liberty Reserve in Costa Rica for over a year until the company was shut down in May
2013. Budovsky concealed that Liberty Reserve was still operating in Costa Rica by separating
the company’s functions into different offices, with different company names. Liberty Reserve’s
customer service department was purportedly “outsourced” to a new company owned by
Hidalgo, called “Silverhand,” whose office was located in a residential building in San Jose.
According to the customer service employees who worked for Silverhand, they continued to do
the same work they had done for Liberty Reserve. The remainder of Liberty Reserve’s
operations were moved to an office complex in San Jose called Golden Plaza. There, Budovsky
and El Amine did real estate work for a company called Grupo Lulu, but Budovsky also
continued to run Liberty Reserve and El Amine continued to operate Swiftexchanger. Also in
Golden Plaza, Chukharev continued to manage Liberty Reserve’s computer infrastructure
through an IT consulting company called WEBSA. (PSR ¶ 103).

        On September 19, 2012, SUGEF noted that the Liberty Reserve website appeared to still
be operational and it demanded that Liberty Reserve produce financial records and other
documentation showing that Liberty Reserve had ceased operations in Costa Rica. (GX-615(T)
at 1-2). On October 2, 2012, Hidalgo responded to SUGEF on behalf of Liberty Reserve,
providing bank records for Liberty Reserve’s Costa Rican banks and falsely claiming that he
could not reach the operator of the website. (Id.). In truth, Budovsky was the true owner of the
website – and the company – and Liberty Reserve continued to operate and maintain a physical
presence in Costa Rica. (PSR ¶ 104).

        H.       Budovsky’s Profits from Liberty Reserve

        From 2007-2013, Budovsky moved more than $25 million in exchanger funds out of the
Liberty Reserve system into other accounts he controlled. (GX 901A, GX 930). During this
period, exchangers paid Liberty Reserve approximately $122 million to purchase LR currency.
After accounting for the $15 million in exchanger cash-outs, the company had approximately
$107 million available. (GX 901A, GX 942B). Of that $107 million, approximately $65.8
million in exchanger deposits went into accounts for three Liberty Reserve-affiliated entities,
Swiftexchanger, Admiral Trading, and Business Logic. As noted above, the Swiftexchanger
account was established in El Amine’s name; Admiral Trading and Business Logic were
established in Ahmed Yassine’s and in Kelsin Varela’s names, respectively. The accounts were
administered by Technocash, an Australian online money remitter that specialized in digital
transfers for businesses. (GX 901A, GX 943B) (PSR ¶ 105). 12

12
  After accounting for exchanger cash-outs, about $41 million in exchanger funds went into Liberty Reserve’s
Costa Rican Bank accounts. (GX 901A, GX 943B). Of that amount, about $14.8 million went to the “sale” of

                                                       25
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 26 of 46




        To obfuscate the location, ownership, and control of the funds, Budovsky directed the
movement of money from Technocash through a complex network of third-party and nominee
accounts. Thus, the $25 million figure is an estimate. For example, beginning in June 2012 and
continuing until his arrest in May 2013, Budovsky funneled $20 million in exchanger funds to
bank accounts located in Hong Kong and China. (GX 930). From there, a portion of the funds
were layered through two accounts in Cyprus (GX 950B, GX 950C), and then disbursed to four
different accounts in Cyprus. (GX 930). When he was arrested in May 2013, Budovsky had
debit cards for these four accounts in his wallet, as well as key fob passes linked to these
accounts. (GX 1010B, GX 1010E) (PSR ¶ 106).

        Approximately $11.6 million in exchanger funds was deposited in these four accounts.
As of May 2013, these accounts had balances totaling $10 million. (GX 921A, GX 921C, and
GX 921G). Each account was held in the name of an individual close to Budovsky. Masfiloti
and Milomeri Limited were in the name of Maxim Chukharev, Gardinia Limited was in the name
of Gleb Pavlukhin (Budovsky’s Dutch boyfriend), and Lorys Limited was in the name of
Anatoly Gursky. With the $11.6 million detailed above, the approximately $25 million in
exchanger funds Budovsky transferred included approximately $3.6 million sent to accounts of
which Budovsky was the beneficial owner, approximately $8.6 million sent to accounts in
various countries of which Varela was the beneficial owner, and approximately $1.1 million sent
to an account in Cyprus, in the name of Makelina Limited, of which Hidalgo was the beneficial
owner. (GX 901A, GX 930). Budovsky also had a debit card from this account in his wallet at
the time of his arrest. (GX 1010B) (PSR ¶ 107). 13

                                       Criminal Use of Liberty Reserve

        The Government’s investigation uncovered a wide variety of evidence reflecting the
extensive use of Liberty Reserve by criminal users – in particular, criminal websites or online
fraud schemes that used Liberty Reserve to receive payments from their customers or victims
and to launder the proceeds of their illegal enterprises. (PSR ¶ 108).

        By contrast, the Government’s investigation uncovered no evidence of substantial use of
Liberty Reserve by legitimate, mainstream online businesses (such as Amazon.com or other
online shopping venues). Hence, while many of the users of Liberty Reserve – particularly
HYIP investors – were unwitting victims of online scams and believed that Liberty Reserve was
a legitimate online payment processor, virtually all of the “merchants” that used Liberty Reserve
– including HYIP operators and “carders” – were criminal, and all of the funds in their Liberty
Reserve accounts were proceeds of criminal activity. (PSR ¶ 109).


Liberty Reserve described above. In December 2011, law enforcement seized any funds remaining in the Liberty
Reserve’s Costa Rica accounts. (GX 918B). Including the funds seized in Costa Rica, law enforcement has seized
or restrained about $45 million in accounts located in several countries.
13
   The remainder of the exchanger funds can be accounted for in three categories: either (1) the funds were
transferred to a country from which sufficient bank records were unavailable, (2) the funds were transferred to a
country from which a response to a request for records is pending, or (3) the funds were provided to a third party for
a good or service for Liberty Reserve or one of its principals.

                                                         26
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 27 of 46



         A.       Data from Liberty Reserve Servers

        Data obtained from Liberty Reserve’s servers reflects the extensive use of the company’s
payment system by criminal websites. The Government analyzed the top 500 accounts by
transaction volume, i.e. funds sent and received, to attempt to determine the type of activity
associated with each account. The total transaction volume for these accounts is approximately
$7.26 billion, or approximately 43% of the total volume of transactions on Liberty Reserve’s
entire system. For each account, the Government reviewed the registration information,
transaction memos 14, and private messages 15 associated with the account, as well as the contents
of any website associated with the account (as reflected in the registration information,
transaction memos, and private messages), to see what type of activity they reflected. (PSR ¶
110).

        Of these top approximately 500 accounts, 44 percent were associated with Liberty
Reserve exchangers – reflecting that many transactions on Liberty Reserve related simply to
moving money in or out of the system. Another 18 percent of the top 500 accounts could not be
categorized based on the available account data standing alone. 16 (GX-1305B; GX-1305C) (PSR
¶ 111).

         The remaining 38 percent of the accounts in the top 500 were categorized as follows:

         •    157 of the accounts, accounting for approximately $2.6 billion in transactions, were
              associated with some form of purported “investment” opportunity. (GX-1311A; GX-
              1311C; GX-1311D; GX-1311F; GX-1311I; GX-1311J (examples of account
              data/associated websites reflecting “investment” activity)). The vast majority of these
              accounts were linked to websites that, on their face, were clearly Ponzi schemes, i.e.,
              HYIPs. Others, at best, were associated with unregulated “forex” (foreign currency
              trading) websites – which are likewise known to be prominent sources of fraud. 17

14
   Liberty Reserve users had the option of including a transaction memo on any payment sent through the system,
akin to the memo line on a check.
15
  Liberty Reserve enabled users to communicate with one another through a “private message” system, akin to an
internal email system.
16
   The analysis of the top 500 Liberty Reserve accounts reflected herein differs from the analysis reflected in the
sentencing submission for Mark Marmilev, largely because the analysis conducted for the Marmilev submission
drew not only from Liberty Reserve account data but also from investigative information from law enforcement files
concerning various accounts within the top 500. As a result, more accounts were able to be associated to a particular
type of activity as opposed to being categorized as “unknown.” For purposes of this submission, however, the
Government has restricted its analysis to sources of information that would have been available to the defendant
himself – i.e., data on Liberty Reserve’s system pertaining to each account and any website associated with the
account.
17
   See Commodity Futures Trading Commission, “Commission Advisory: Beware of Foreign Currency Trading
Frauds,” available at http://www.cftc.gov/opa/enf98/opaforexa15.htm. As explained in the advisory, unregulated
websites offering individuals the opportunity to make money through foreign exchange trading are often forms of
“high-yield investment programs” or “get rich quick” schemes. By contrast, mainstream international currency
swap markets typically operate on government-regulated exchanges and are associated with traditional consumer
and investment banking services. Liberty Reserve was not an accepted form of payment at any such mainstream
international currency swap markets.

                                                         27
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 28 of 46



              (GX-1310A (screenshots of all websites identified for the “investment” accounts in
              the top 500).

         •    Nineteen of the accounts, accounting for approximately $138 million in transactions,
              were associated with trafficking in stolen credit card information. (GX-1311E; GX-
              1311G; GX-1311H (examples of account data/associated websites reflecting carding
              activity)). 18

         •    Fourteen of the accounts, accounting for approximately $110 million in transactions,
              were associated with various Internet services, typically of a kind used by carders or
              other cybercriminals to anonymize their Internet activity (such as “VPN,” “proxy,” or
              “socks” services). (GX-1311K (example of account data/associated website
              reflecting such activity)).

(PSR ¶¶ 112-115)

         B.       Google Analytics Data

       Beyond examining the largest sources of Liberty Reserve’s transactional activity, the
Government also examined the largest sources of Liberty Reserve’s website traffic. Liberty
Reserve used various tools to monitor user traffic on its website. One of the tools it used was
Google Analytics. Google Analytics is a service operated by Google, Inc., which caters to online
businesses. A business subscribed to Google Analytics (the “subscriber”) can use the service to
monitor traffic to and within the subscriber’s website. (PSR ¶ 116).

        Among the user data collected by Google Analytics is “referral traffic,” which lets the
subscriber see what websites are referring traffic to the subscriber’s website – that is, the
websites that users are visiting immediately before visiting the subscriber’s website. Such data
can help the subscriber understand the sources of its online business. (For example, if the
subscriber operates a website selling sports equipment, “www.sportsequipment.com,” and
advertises on various sports-related websites, the subscriber can use Google Analytics to see how
much of the traffic to “www.sportsequipment.com” comes from the websites where the
subscriber’s site is advertised.). (PSR ¶ 117).

        Liberty Reserve offered online “merchants” using its services the ability to access Liberty
Reserve through a shopping cart interface (“SCI”). In this way, the “merchants” could accept
Liberty Reserve payments from customers directly on their own websites, without requiring the
customers to log on to Liberty Reserve’s homepage and initiate a payment manually (just as
many mainstream online merchants accept payments through PayPal). Among other things,
Google Analytics collected the referral data for Liberty Reserve’s SCI interface – i.e., data
reflecting the websites using Liberty Reserve’s SCI interface to accept payment from their


18
   The accounts were categorized based on the reference to carding terms (e.g., “cvv,” “cv2,” “fullz,” “dumps,”
“track1,” “track2”) in the registration information, transaction memos, private messages, or website associated with
each account.

                                                         28
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 29 of 46



customers. Each referral reflects the use of Liberty Reserve to effectuate a payment for a
transaction on the referring website. (PSR ¶ 118).

       The Government analyzed the top 200 websites that referred traffic to Liberty Reserve’s
SCI interface from 2010 to 2013 (in terms of volume of referrals) – which were responsible for
more than half of all the referrals to Liberty Reserve’s SCI interface during this timeframe. (GX-
1304; GX-1304A; GX-1304B). That analysis showed that:

         •    Approximately 36 percent of the top 200 referral sites – including half of the top 10
              sites – were “carding” websites, i.e. websites engaged in trafficking stolen credit card
              data and related illegal goods and services, as evidenced by, among other things, their
              use of carding terms in their domain names (“cc,” “cvv,” “cv2,” “fullz,” “dumps”)
              and their use of a login screen on their homepage (in contrast to legitimate merchants,
              which typically indicate what they sell on their homepage). (GX-1302A (screenshots
              of carding websites included in top 200)). 19

         •    Approximately 29 percent of the top 200 referral sites were “investment” sites – most
              of which were fraudulent on their face. (GX-1302D).

         •    The remainder of the top 200 referral sites were web services (“VPNs,” “proxies,”
              etc.), gambling sites, and exchangers. (GX-1302F; GX-1302C; GX-1302B)

(PSR ¶¶ 119-122).

         C.       Liberty Reserve’s Featured “Merchants”

       The Liberty Reserve website itself included a list of “merchants” where users could
spend their LR. (GX-110C). The list was not a comprehensive or even representative list of the
businesses that accepted Liberty Reserve as payment. There were no HYIPs or carding sites
included in the list, for example. The businesses on the merchants page were ones that Liberty
Reserve selected to feature. Yet even some of these featured business appeared to cater to a
criminal clientele. (PSR ¶ 123).

        For example, one website, www.ptshamrock.com (“PTShamrock”), listed under the
category “Finance,” offered offshore banking services and brazenly claimed to sell academic
degrees, driver’s licenses, passports, and even appointments to ambassadorial or consular
positions in certain countries, in exchange for Liberty Reserve. (GX-541B; GX-541D; GX-
541E; GX-541F; GX-541G) (PSR ¶ 124).

        Other “merchants” featured on the Liberty Reserve website were listed under the
category “Internet Services,” and provided web “privacy” or “security” services, such as virtual
private networks, encryption, and “offshore” website hosting (i.e., hosting of websites on servers
19
   While carding sites account for the highest percentage of the traffic directed to Liberty Reserve’s SCI interface,
they do not account for the highest percentage of Liberty Reserve’s transactional activity. This is likely because
purchases on carding websites tend to be for smaller amounts of money than, for example, “investments” in HYIP
websites.

                                                          29
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 30 of 46



located in jurisdictions with weak or lax law enforcement systems). Such services are frequently
used by online criminals to hide their tracks or to otherwise prevent detection or disruption of
their criminal activity by law enforcement. Indeed, some of the “offshore” hosting services
featured on Liberty Reserve’s merchants page specifically marketed to HYIPs. (GX-542; GX-
547) (PSR ¶ 125).

        As of May 2013, only two links to “merchants” were featured under the category
“Shopping.” One link led to a Facebook page of an individual in Indonesia offering to “resell” a
seemingly random collection of clothing, electronics, and other goods, consistent with fencing
stolen merchandise. The second link led to www.kupitam.com (“Kupitam”), a site which Kats
participated in operating and which allowed a user to specify any item on the Internet that the
user wished to purchase (for example, an item for sale at Amazon.com). Kats would then
purchase the specified item for the user. After the item was delivered to Kats, Kats would re-
ship the item to the user, in exchange for payment in LR. The website charged high
“processing” fees that would deter most users from using the site for legitimate business activity.
(GX-545). Instead, the site enabled Liberty Reserve users to purchase goods from mainstream
vendors – who otherwise would not accept such form of payment – and to do so indirectly, in a
way that avoided leaving a record of their identities or shipping locations with the vendors.
(PSR ¶ 126).

       D.      Aftermath of Liberty Reserve Shutdown

        Following the shutdown of Liberty Reserve in May 2013, law enforcement agents
monitoring various online criminal forums (such as “hacking” or “carding” forums) observed
numerous postings by users of these forums bemoaning Liberty Reserve’s closure and the
resulting loss of funds that they had on Liberty Reserve’s system. Many users complained of
losing tens of thousands of dollars or more that they had in their Liberty Reserve accounts. (PSR
¶ 127).

        By contrast, very few Liberty Reserve users have contacted the Southern District of New
York seeking to recoup their Liberty Reserve funds on the basis that they were conducting
legitimate business on the site. When the Liberty Reserve takedown was announced to the
public in May 2013, users were instructed to contact the Southern District of New York if they
wished to recoup their funds. Notwithstanding that Liberty Reserve had more than 5 million
registered user accounts, only approximately 50 individuals have contacted the Southern District
of New York since May 2013. Based on their comments, many of these people appear to be
victims of HYIPs and other online scams. Similarly, notwithstanding that numerous Liberty
Reserve accounts were doing a high volume of business as Liberty Reserve “exchangers,” only
one Liberty Reserve exchanger has contacted the Southern District of New York about a
potential claim since May 2013, and that claim was ultimately not pursued. (PSR ¶ 128).

       E.      Impact on HYIP Victims in SDNY

        Countless victims in the United States and elsewhere were defrauded by online HYIPs
that accepted payment through Liberty Reserve, including several located in the Southern
District of New York. One example is Eric Boateng, a Bronx resident and father of two, who

                                                30
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 31 of 46



works full-time as a security guard while taking vocational courses, and whom the Government
planned to call as a witness at trial. In 2012, Mr. Boateng “invested” in over a dozen HYIPs,
believing them to offer a good way to “diversify” his investments. Mr. Boateng understood
Liberty Reserve to be the “bank” through which he had to send his money to the operators of the
HYIPs. In total, Mr. Boateng “invested” over $6,000 in various HYIPs via Liberty Reserve,
believing them to be legitimate investment opportunities. Mr. Boateng also advised a co-worker
and two relatives (also Bronx residents) to invest in HYIPs, all of whom invested significant
sums through Liberty Reserve as well. As Mr. Boateng believed he was making a long-term
investment, he “re-invested” his supposed “returns” from the HYIPs, and never withdrew any
money. Eventually the HYIP websites shut down, and Mr. Boateng lost his entire “investment.”
(PSR ¶ 133) (see also Boateng Victim Impact Statement).

                                          DISCUSSION

I.     The Court Should Not Disregard Section 2B1.1 of the Sentencing Guidelines

        Although Budovsky reaffirms that the Guidelines calculation in the plea agreement and
the PSR is correct, he argues that reliance on the “amount of money laundered drives up the
offense level disproportionately,” and urges the Court to disregard the stipulated offense level to
the extent that it relies on the loss table in U.S.S.G. Section 2B1.1. (Def. Mem. at 41). In effect,
Budovsky challenges Section 2B1.1 “based solely on policy considerations.” Kimbrough v.
United States, 552 U.S. 85, 101 (2007).

        There are three major lines of cases criticizing specific Guidelines under Kimbrough.
The first line of authority relates to Section 2D1.1, the drug Guidelines, as applied to offenses
involving crack cocaine. See Kimbrough v. United States, 552 U.S. at 109. The second involves
the Guidelines relating to child pornography, Section 2G2.2. See United States v. Dorvee, 616
F.3d 174, 183-84 (2d Cir. 2010). And the third relates to Section 2B1.1, the Guideline at issue
here. See, e.g., United States v. Adelson, 441 F. Supp. 2d 506 (S.D.N.Y. 2006), aff’d, 301 Fed.
Appx. 93 (2d Cir. 2008).

        Although the Second Circuit has endorsed policy-level challenges to the Guidelines in
cases involving crack and child pornography, it has explicitly not done so with respect to Section
2B1.1. See United States v. Goffer, 721 F.3d 113, 131 (2d Cir. 2013) (“Defendants in this case
assert that several district court judges have chosen to exercise this ability to issue below-
Guidelines sentences to white collar criminals. [The defendants] raise broad questions as to how
harsh federal courts are, and how harsh they should be, in sentencing white collar defendants.
We need not answer either question.”).

       In Kimbrough, the Supreme Court held that Section 2D1.1 was subject to policy-level
disagreement by district courts in cases involving crack because the Commission had merely
adopted, without deliberation, the 100-1 crack to cocaine ratio that Congress enacted in the Anti-
Drug Abuse Act of 1986. See Kimbrough, 552 U.S. at 96. The Kimbrough Court also noted that
the Commission “later determined that the crack/powder sentencing disparity is generally
unwarranted.” Id. at 97. In Dorvee, the Second Circuit expressed concern that Section 2G2.2
had been increased largely by congressional fiat in the PROTECT Act, and that the Commission

                                                 31
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 32 of 46



“has often openly opposed these Congressionally directed changes” to the child pornography
Guidelines. Dorvee, 616 F.3d at 184-85.

        The Commission’s development of Section 2B1.1 is not subject to the same degree of
criticism. Over a five-year period between 1996 and 2001, the Commission engaged in a
deliberative process to address the Guidelines’ treatment of white-collar offenses, with the
involvement of relevant stakeholders including the defense bar, the Department of Justice,
probation officers, and the U.S. Judicial Conference. See Federal Register Notice BAC2210-40,
62 Fed. Reg. 152, 171-74 (1997) (proposals by the Commission for comment regarding
economic crime sentencing reform). The resulting amendments were referred to as the
“Economic Crime Package,” and they became effective on November 1, 2001. See Sentencing
Guidelines for the United States Courts, 66 Fed. Reg. 30,512, 30,540 (June 6, 2001). The
Commission explained the amendments to Section 2B1.1 as follows:

               [M]ost fraud statutes cover a broad range of conduct with extreme
               variation in severity. The specific offense characteristics and cross
               references contained in this guideline are designed with these
               considerations in mind.

               The Commission has determined that, ordinarily, the sentences of
               defendants convicted of federal offenses should reflect the nature
               and magnitude of the loss caused or intended by their crimes.
               Accordingly, along with other relevant factors under the
               guidelines, loss serves as a measure of the seriousness of the
               offense and the defendant’s relative culpability and is a principal
               factor in determining the offense level under this guideline.

Id. at 30,533. Thus, the 2001 amendments to Section 2B1.1 reflected the considered view of the
Commission, following a collaborative process with relevant stakeholders, that loss amount
should be a central consideration in determining the seriousness of an offense to which that
Guideline applies.

        In 2002, Congress instructed the Commission to amend the Guidelines for white-collar
crime again, this time as part of the Sarbanes-Oxley Act. Congress’s instructions at that time
were far more open-ended than the congressional mandates regarding Section 2G2.2 in the
PROTECT Act. In emergency amendments promulgated pursuant to Sarbanes Oxley in January
2003, the Commission modified the loss-amount enhancement in Section 2B1.1 for high-loss
cases—that is, cases involving loss amounts in excess of $200 million. See U.S. Sentencing
Comm’n, Emergency Guidelines Amendments, 15 Fed. Sentencing Reporter 281, 283 (Apr 1,
2003) (“[T]he amendment expands the loss table at § 2B1.1(b)(1) to punish adequately offenses
that cause catastrophic losses of magnitudes previously unforeseen, such as the serious corporate
scandals that gave rise to several portions of the Act.”), available at 2003 WL 22016909.
Following a period of notice and comment, see 68 Fed. Reg. 2615, available at 2003 WL
131508, the Commission conducted hearings on the amendments in March 2003. See U.S.
Sentencing Comm’n, Hearing on Amendments in Response To Sarbanes-Oxley, 15 Fed.
Sentencing Reporter 291 (Apr. 2003), available at 2003 WL 22016911.

                                                32
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 33 of 46




        The hearings included testimony from the chair of the Sentencing Guidelines
Subcommittee of the Attorney General’s Advisory Committee; the co-chairs of the
Commission’s Practitioners Advisory Group; the president of the National Association of
Criminal Defense Lawyers; and Professor Frank Bowman. See id. at 291. Thus, as with the
Economic Crime Package amendments, the final amendments to Section 2B1.1 following
Sarbanes Oxley were the product of deliberation by the Commission rather than rote application
of a congressional mandate. To the extent Section 2B1.1 emphasizes loss amount to the degree it
does, that was an intentional decision by the Commission based on years of consideration and
guidance from Congress. See United States v. Ebbers, 458 F.3d 110, 129 (2d Cir. 2006) (“[T]he
Guidelines reflect Congress’ judgment as to the appropriate national policy for [white collar]
crimes.”).

        The District Court decisions cited by Budovsky as critical of Section 2B1.1’s loss
calculations involve sentences imposed for securities fraud offenses, and the applicability of
those opinions to the facts of Budovsky’s offenses is limited. See, e.g., United States v. Gupta,
904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012) (in an insider trading case, criticizing the Guidelines
for “assign[ing] [the defendant] no fewer than 18 points for the resultant but unpredictable
monetary gains made by others, from which Mr. Gupta did not in any direct sense receive one
penny); United States v. Parris, 573 F. Supp. 2d 744. 754 (E.D.N.Y. 2008) (expressing the
concern that “any officer or director of virtually any public corporation who has committed
securities fraud will be confronted with a guidelines calculation either calling for or approaching
lifetime imprisonment”); United States v. Adelson, 441 F. Supp. 2d 506, 509 (S.D.N.Y. 2006)
(“the precipitous decline in stock price that typically accompanies a revelation of fraud generates
a multiplier effect that may lead to guideline offense levels that are, quite literally, off the
chart”); United States v. Emmenegger, 329 F. Supp. 2d 416 (S.D.N.Y. 2004) (“[t]o a
considerable extent, the amount of loss caused by this crime is a kind of accident”).

       By contrast, the “the value of the laundered funds” for which Budovsky was accountable
in connection with Liberty Reserve was neither “unpredictable” nor “a kind of accident,” and
Budovsky himself profited handsomely as a result of this large volume of laundered funds.
Budovsky was uniquely positioned to monitor both the volume of transactions with exchangers
and the volume of user transactions conducted on the Liberty Reserve website. Budovsky
oversaw the funding of exchanger accounts, and he had full access to the transactional database.
As Budovsky told El Amine, as he was checking an account in Liberty Reserve’s transactional
database, “there are no secrets from me.” (GX 701). Budovsky knew exactly how much money
Liberty Reserve was laundering—there was nothing unpredictable or accidental about it.

        Furthermore, although the Guidelines for both fraud and money laundering offenses use
the tables in Section 2B1.1, the “value of the laundered funds” is a different measure than fraud
loss because it is not based on harm to victims, but rather harm to society. See United States v.
Martin, 320 F.3d 1223, 1227 (11th Cir. 2003) (noting that “value of the funds” is different from
fraud “loss” because “[t]he harm from such a transaction does not generally fall upon an
individual, but falls upon society in general. Each unlawful monetary transaction harms society
by impeding law enforcement’s efforts to track ill-gotten gains.” (internal citations and quotation
marks omitted)).


                                                33
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 34 of 46



       In sum, Budovsky’s arguments regarding the unfairness of the application of Section
2B1.1 to his case, and his request for a non-Guidelines sentence on that basis, should be rejected.

II.      The Parties’ Preliminary Plea Discussions Have No Bearing on the Appropriate
         Sentence in this Case

       Budovsky argues that the Court should impose a sentence of no greater than 15 years on
the grounds that, at one point during the plea discussions between the parties, the Government
believed that a “15-year cap” was an appropriate resolution to the case. (Def. Mem. at 16). This
argument is baseless and ignores the differences between the plea bargaining process and the
process of determining an appropriate sentence. 20

        The factors that the Government considers when negotiating a plea deal pre-trial are
different from the factors a court considers when determining a defendant’s sentence post-
conviction. A sentencing court looks solely at the factors set forth in 18 U.S.C. § 3553(a). In the
context of plea discussions, the Government considers the same Section 3553(a) factors, but also
considers other legitimate factors that the sentencing court does not. These include, inter alia,
the need to conserve the Government’s resources, to protect the identity of an informant, or to
hedge against the “litigation risk” inherent in any trial and achieve the certainty of a conviction.
But in order to achieve these objectives, the Government must offer the defendant some benefit
in return; such benefit normally takes the form of a reduction in the severity of the defendant’s
punishment. This mutual give-and-take between the Government and the defendant take in the
plea bargaining context is expected and entirely legitimate. See Bordenkircher v. Hayes, 434
U.S. 357, 363 (1978) (“Plea bargaining flows from the mutuality of advantage to defendants and
prosecutors, each with his own reasons for wanting to avoid trial.” (internal quotations and
citation omitted)).

        Furthermore, the Government’s plea calculus frequently changes as the case proceeds
closer to trial. For example, it is often the case that the need to protect an informant is mooted by
the production of the 3500 material, or that the perceived “litigation risk” diminishes
substantially as the Government’s proof becomes stronger. In those situations, it is entirely
appropriate in the plea bargaining context for the Government to offer less of a benefit to the
defendant in exchange for his guilty plea. In fact, the Sentencing Guidelines themselves
recognize the value of an early guilty plea, and explicitly provide for a sentence reduction for a
defendant who has “timely notif[ied] authorities of his intention to enter a plea of guilty, thereby
permitting the government to avoid preparing for trial and permitting the government and the
court to allocate their resources efficiently.” U.S.S.G. § 3E1.1.




20
   As the Court is aware, the parties made an extensive record about the plea discussions at the April 6, 2016
conference at the request of the Court. Among other things, the Court found that “there was no formal offer made
by the government to accept a plea at any time to a series of charges that had a 15-year maximum.” (Tr. 4/6/16 Hrg.
at 32). Budovsky claims that he does not seek to re-litigate these issues, but then proceeds to set forth at length his
version of how the plea discussions transpired. (See Def. Mem. at 13-16). Although the Government does not agree
with the defendant’s version of the facts, we do not believe it is necessary or appropriate to respond to them here.
We rely on the Court’s prior findings.

                                                          34
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 35 of 46



        Accordingly, the Government’s calculus of an appropriate plea offer is very different
than a sentencing judge’s calculation of an appropriate sentence. It is therefore incorrect for
Budovsky to suggest that the Government’s discussions about a potential 15-year plea deal
months before trial should inform the Court’s determination of his sentence. Indeed, if
Budovsky’s argument were accepted as a principle for determining a defendant’s sentence, it
would completely upend the incentives in the plea bargaining process. Budovsky is in effect
arguing that once a prosecutor makes a plea offer to a defendant, the sentence associated with
that plea offer should forever remain presumptively reasonable, and also “sufficient” for
purposes of Section 3553(a). Such an outcome would be the functional equivalent of requiring
prosecutors to keep open indefinitely any plea offer made to a defendant. The Government’s
inability to modify a plea offer as a case proceeds toward trial would undercut any benefit the
Government could hope to obtain from the plea bargaining process, as the defendant would have
no incentive to take an early plea. The Court should therefore reject Budovsky’s argument.

III.   A Guidelines Sentence Is Warranted in Light of the Unprecedented Scope of the
       Money Laundering, Budovsky’s Leadership Role at Liberty Reserve, and His
       Deception of Law Enforcement Authorities

         Although Budovsky disputes several aspects of the factual summary in the PSR (which
we address later in this submission), the facts comprising the core criminal conduct in this case
are not disputed. Budovsky has explicitly admitted these core facts in his plea allocution, in his
additional admissions in the parties’ April 8, 2016 letter to the Court (the “April 8 Letter”), and
in his response to the PSR offense conduct summary:

       •   Budovsky and Kats jointly conceived, created, controlled, and ran Liberty Reserve as
           full-fledged partners from its inception in 2002 until May/June 2008, when Kats was
           removed from the company and Budovsky assumed full supervisory control of
           Liberty Reserve. Prior to their split, Budovsky and Kats discussed and jointly
           implemented all major strategic decisions for the company, including the design of
           the Liberty Reserve currency system and the marketing strategy for the company.

       •   From the beginning, Budovsky and Kats intended that Liberty Reserve would engage
           in money laundering and assist others to engage in money laundering. Although
           Budovsky and Kats would have welcomed the use of Liberty Reserve by legitimate
           businesses, they were both aware that the majority of Liberty Reserve’s business
           would come from, and did come from, criminal activities – predominantly high-yield
           investment programs (“HYIPs”), which they knew were online Ponzi schemes.
           Hence, Budovsky and Kats intentionally designed Liberty Reserve to attract HYIPs
           and other online criminals by including features that enabled such criminals to
           launder the proceeds of their ill-gotten gains. Budovsky and Kats also actively sought
           out HYIP business for Liberty Reserve through a variety of means, including
           promoting Liberty Reserve to HYIPs on various online discussion forums.

       •   Liberty Reserve laundered between $250,000,000 and $550,000,000 in criminal
           proceeds from user accounts based in the United States. These transfers represented
           proceeds derived from a wide range of cybercrimes, including HYIP scams, credit
           card trafficking, stolen identity information, and computer hacking.
                                                 35
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 36 of 46




        The undisputed core facts set forth above show that Budovsky co-founded and led a
massive money laundering enterprise that was specifically designed for, and deliberately
marketed to, cybercriminal enterprises across the world to help them launder hundreds of
millions of dollars in criminal proceeds. Throughout its entire existence, Budovsky led Liberty
Reserve – at first as a 50/50 partner with Kats and later as the sole decision-maker – and
developed it into a criminal operation of unprecedented size and scope that was critically
important to online criminals. On these facts alone, the defendant’s crime is an extraordinarily
serious offense that warrants a Guidelines sentence.

        To carry out this criminal enterprise, Budovsky engaged in a persistent pattern of
obfuscation and deception of law enforcement authorities and regulators. For example, after
their arrest in 2006 for running GoldAge as an unlicensed money transmitting business,
Budovsky and Kats went to great lengths to conceal their involvement with Liberty Reserve and
insulate it from the reach of U.S. law enforcement authorities. Among other things, Budovsky
and Kats moved Liberty Reserve to Costa Rica and incorporated the company and its bank
accounts under the names of nominee owners. Budovsky then provided the false documentation,
which concealed his involvement in Liberty Reserve, to SUGEF, the Costa Rican financial
regulatory authority. (PSR ¶¶ 50-51, 63-66; GX-600(T)).

        Once Liberty Reserve had been set up in Costa Rica, Budovsky repeatedly misled
SUGEF and Liberty Reserve’s own compliance team about the criminal nature of Liberty
Reserve’s business. Among other things, Budovsky intentionally withheld information about
Liberty Reserve’s clients and transactional history from his General Manager, Marco Cubero,
and his Compliance Officer, Silvia Lopez. (See GX-1001A (Budovsky telling Marmilev that
Cubero will not be granted access to the Liberty Reserve transactional database “even if his life
would depend on it”); GX-1050F(T) (Marmilev chastising a programmer for mistakenly sending
reports of customer information and transactional volumes to Cubero and Lopez)). In addition,
Budovsky had Marmilev and Chukharev create a special “Government Administrative Area”
within the Liberty Reserve database into which they populated “fake” data and statistics to
mislead SUGEF and the Liberty Reserve compliance team about the volume of transactions
passing through Liberty Reserve and to thwart efforts to implement meaningful compliance
measures at the company. (PSR ¶ 77; GX-1050B(T); GX-1050C; GX-1050D). This pattern of
deception highlights the extraordinary lengths to which Budovsky was willing to go to conceal
his crime and underscores the need for a Guidelines sentence.

        Budovsky’s conduct is even more reprehensible because it is marked by numerous
instances of gratuitous and unbounded greed. For example, at the end of May 2008, Budovsky
unilaterally “restructured” his partnership with Kats and pushed Kats out of the business against
his will. (PSR ¶ 64; GX-521C). Budovsky knew he could do this because Kats was still on
probation for his GoldAge conviction and was unable to travel to Costa Rica to contest
Budovsky. Moreover, the timing of Kats ouster was not a coincidence. It occurred just as
Liberty Reserve’s business was sharply increasing due to the demise of E-Gold and E-Bullion –
two competitor digital currencies, whose users flocked to Liberty Reserve – making Liberty
Reserve much more profitable than it had been in the past. (See GX-1320E (F) (showing the
difference in Liberty Reserve’s transaction volume when Budovsky and Kats were partners

                                               36
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 37 of 46



versus when Budovsky was the sole owner of Liberty Reserve)). Budovsky deliberately cut out
his partner of seven years in order to keep the increased criminal profits for himself.

        If these profits were not enough, Budovsky sought to increase his ill-gotten gains by
starting his own HYIP scam with El Amine (PSR ¶¶ 82-86; GX-701; GX-708-710; GX-712;
GX-714; GX-719; GX-722-724), and by freezing the accounts of HYIP operators and keeping
the money for himself. (PSR ¶¶ 93-98). Budovsky knew that the criminal HYIP operators
would have no legal recourse to challenge the seizures, and as long as he kept the amounts below
a certain level, the HYIP operators would treat it as a cost of doing business with Liberty
Reserve. (See GX-828(T)). Indeed, Budovsky’s greed was so intense that, as he described it, his
hands were literally “itching” to grab the money. (GX-1020A). These examples suggest that
Budovsky will have considerable difficulty curbing his venal motivations and may revert to
criminal activity after he has served his sentence.

        Moreover, a Guidelines sentence would not cause an unwarranted sentence disparity as
compared to Budovsky’s co-conspirators, Marmilev and Chukharev, who received sentences of
five years and three years, respectively, or as compared to money laundering defendants
nationwide. (See Def. Mem. at 45-46). Marmilev and Chukharev were much differently situated
than Budovsky. First, those two defendants pled to a different crime – conspiracy to run an
unlicensed money transmitting business, in violation of 18 U.S.C. §§ 1960 and 371 – which
carries a five-year maximum sentence. Hence, their crimes of conviction were much narrower in
scope and exposed them to a much lower maximum sentence. Second, Marmilev and Chukharev
played supporting roles in the conspiracy, not a leading role like Budovsky. Their lesser
culpability warranted a lesser sentence, and does not set up an unwarranted sentence disparity if
Budovsky receives a Guidelines sentence. In addition, the fact that the national average for
money laundering sentences in 2014 was far lower than 240 months does not carry much weight.
The average includes numerous minor money laundering offenses that do not approach the
unprecedented size and scope of Liberty Reserve. Accordingly, a Guidelines sentence is
appropriate.

IV.    A Guidelines Sentence Is Further Warranted Because Budovsky is a Proven
       Recidivist

        Budovsky argues that a Guidelines sentence would be greater than necessary because he
presents a low risk of recidivism based on his age, education level, and other predictive factors.
(See Def. Mem. at 19-21). Hence, according to Budovsky, a long prison sentence is not required
to deter him from re-engaging in criminal activity or to protect the public. (See id.). In support
of his argument, Budovsky cites several research studies by the U.S. Sentencing Commission,
and a number of cases in which the court imposed a lenient non-Guidelines sentence due to the
defendant’s low risk of recidivism based on these same objective factors. (See id.).

        Budovsky’s argument completely misses the mark. It is not necessary to rely on
objective factors like age and education level to predict whether Budovsky will likely commit
crimes again in the future. Budovsky is already a proven recidivist. In 2006, Budovsky was
convicted of running GoldAge as an unlicensed money transmitting business, and was given a
lenient sentence of 5 years’ probation. (PSR ¶ 147). Immediately after his conviction, and just

                                                37
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 38 of 46



after starting his term of probation, Budovsky returned to the exact same type of criminal activity
by running Liberty Reserve with Kats. (PSR ¶ 49). Not only did Budovsky quickly return to a
life of crime, he did everything in his power to insulate himself so that he could continue his
criminal money laundering enterprise with no interference from U.S. law enforcement. For
example, he and Kats registered the domain names for Liberty Reserve and their other exchanger
businesses under false names or nominees to avoid having their true names associated with the
companies. (PSR ¶ 50). Budovsky and Kats also incorporated Liberty Reserve in Costa Rica
and opened several offshore bank accounts there. (PSR ¶ 51). Budovsky later moved to Costa
Rica and ultimately renounced his U.S. citizenship. (PSR ¶ 63). Hence, the “lesson” Budovsky
took from his prior conviction was not to steer clear of crime. It was that he needed to be a
smarter criminal. Given those circumstances, a Guidelines sentence is absolutely warranted to
promote respect for the law and to deter Budovsky from committing crimes again in the future.

        The research studies and cases that Budovsky cites are not to the contrary. In fact, the
principal study upon which Budovsky relies states that the best tool for predicting the likelihood
of recidivism is not the defendant’s age or education level, but rather the defendant’s criminal
history point score – i.e., whether the defendant has committed a crime in the past. See
Measuring Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines
at 15 (May 2004) available at http://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2004/200405_Recidivism_Criminal_History.pdf (noting that
recidivism rates increase steadily with higher criminal history point scores).

        A Guidelines sentence is also necessary to incapacitate Budovsky and protect society
from further crimes. If Budovsky receives a sentence of 15 years or lower, as he requests, then
taking into account the roughly three years he has already been incarcerated, he will be released
from prison when he is 54 years-old or younger. At that age, Budovsky could easily re-engage
in fraud and money laundering crimes. Indeed, Budovsky has made his living committing these
kinds of crimes since he was in his twenties, and there is every reason to believe that he will
revert to the same sort of criminal activity upon his release from prison. Moreover, the
Government does not accept Budovsky’s claim that he is already substantially incapacitated
because he no longer has any assets. (See Def. Mem. at 5). The Government is aware of
millions of dollars that were transferred to Russia and other countries from accounts controlled
by Budovsky that the Government has not been able to locate and forfeit. Budovsky may still
have access to these funds and, if so, could use them to get on his feet quickly and restart his
criminal activity. Furthermore, the Court should not consider the fact that Budovsky will be
removed from the United States after his release as a mitigating factor. (See id.). Budovsky
brought that outcome on himself when he chose to renounce his U.S. citizenship to facilitate his
money laundering enterprise.

V.     A Guidelines Sentence Is Further Warranted Because Budovsky Continues to
       Minimize his Criminal Conduct and Shows No Remorse for his Actions

        Budovsky’s sentencing submission repeatedly mischaracterizes the factual record and
minimizes his conduct and role in the offense. Budovsky’s arguments raise a real concern that
he has truly acknowledged the full scope of his actions, which counsels strongly in favor of a
Guidelines sentence.

                                                38
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 39 of 46




         Budovsky’s sentencing submission is remarkable in its focus and tone. He expresses
virtually no remorse for running a massive money laundering business, which facilitated the
movement and concealment of hundreds of millions of criminal proceeds and left a stream of
victims in its wake. Budovsky, instead, choses to quibble with a litany of factual representations
in the PSR in an effort to downplay his criminal responsibility in the scheme – even when the
points he raises do not seem to bear on the core conduct of the case – and to deflect the Court’s
attention from his own conduct by blaming others, like his co-conspirator, Vladimir Kats, and
even the HYIP victims like Eric Boateng. Indeed, Budovsky’s submission is marked by a
recurring pattern. He repeatedly avers that he is not stepping back from his plea allocution or his
admissions in the April 8 Letter, but then in same breath attempts to argue an inference or draw a
distinction that is inconsistent with, if not the letter of his prior admissions, then certainly the
spirit of those admissions.

        The Government will not attempt to rebut every one of Budovsky’s arguments, as many
of his points relate to peripheral issues that have little bearing on the appropriate sentence.
However, in the sections below we do address and rebut several of his principal points, which are
at odds with the factual record and his prior admissions, and which attempt to paint a misleading
picture of Budovsky’s relative culpability, particularly vis-à-vis Kats.

       A.      Kats Was Not the “Dominant Force” in the Relationship with Budovsky and
               Did Not “Exploit” Budovsky’s Purported “Vulnerabilities”

         As part of a recurring theme in his sentencing submission, Budovsky attempts to lay
more of the blame for the crime at the feet of Kats by portraying Kats as the “dominant force” in
their relationship. (See Def. Mem. at 47). Budovsky goes even further, claiming that Kats knew
about Budovsky’s depression and intentionally “exploited Budovsky’s vulnerability.” (Def.
Mem. at 46). The notion that Kats held more sway in their relationship and that Budovsky was
somehow the victim of Kats’ emotionally predatory behavior is patently absurd and
demonstrably false.

        First, the documents upon which Budovsky relies to show that Kats was supposedly
preying on Budovsky’s weaknesses show nothing of the sort. The chats between Kats and
Yassine that Budovsky cites show only that Kats was aware that Budovsky struggled with
depression and was taking medication. (See Def. Ex. 4, Ex. 8). There is nothing in the chats that
even hints that Kats exploited Budovsky’s depression for his advantage. To the contrary, in his
chat with Yassine (referred to as “Alex” in the chat), Kats expresses genuine sympathy for
Budovsky’s medical problems and hopes that they can reconcile in the future, despite the fact
that Budovsky had betrayed Kats and kicked him out of Liberty Reserve against his will only
two years before. (See Def. Ex. 4 at 6:48 PM (Kats: “I hope the drugs (Paxil, etc.) helps him to
cope.”); at 6:43 PM (Kats: “Like I said, I still have a small hope for Arthur. Maybe one day, he
will realize what he did and try to make things right for both you and me.”)).

        The documents and the record as a whole also contradict Budovsky’s assertion that Kats
was in the driver’s seat in their relationship and that Budovsky simply went along with Kats
because he trusted him. (See Def. Mem. at 46-47). If Kats had enjoyed the upper hand in the

                                                39
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 40 of 46



relationship and Budovsky were simply acceding to Kats’ wishes, Budovsky would never have
been able to kick Kats out of the company in May 2008. In fact, the text of the chats between
Budovsky and Kats in May/June 2008 when Budovsky informed Kats that he (Budovsky) was
unilaterally restructuring their partnership and removing Kats from Liberty Reserve against his
will, clearly shows that Budovsky was not weak and vulnerable, but rather was a calculating
(even ruthless) businessman, who was willing to cut out his partner of seven years for a pittance
just as the business was becoming profitable. (See GX-521C at 01:19:39 2/06/2008 (Budovsky:
“[Y]ou have said yourself this is not personal . . . and I am not treating this as personal . . . so
comments about 20 years [of friendship] . . . do not mean much, because i look only at business
side of everything.”). Moreover, the chat utterly refutes the idea that Kats’ personality was the
“dominant force” in their relationship. If anything, by this point in the relationship, Kats was at
the mercy of Budovsky, not vice versa.

        Budovsky appears to go even further with his argument by intimating, although not
stating outright, that Kats was also the “dominant force” – i.e., the more culpable actor – in the
creation and management of Liberty Reserve. (See Def. Mem. at 47 (“The Government seems to
suggest in its version of the offense that Budovsky was the more evil operative behind the
inception, creation and implementation of LR. In our respectful view, Kats’ personality was the
dominant force in his relationship with Arthur.”)). To the extent that Budovsky is making this
argument, it directly contradicts his admissions in the April 8 Letter (“Budovsky and Kats jointly
conceived, created, controlled, and ran Liberty Reserve as full-fledged partners from its
inception in 2002 until May/June 2008[.]”). Moreover, the chat referenced above directly refutes
this position. In the chat, Budovsky (Seelen866) justifies Kats’ ouster by telling him that he
(Budovsky) had been primarily responsible for running the company for some time and that Kats
had contributed almost nothing to the operation of Liberty Reserve in the roughly two year
period since their arrests for running GoldAge in May 2006. And Kats (Ragnarok) agrees with
him.

                       --------------------------------------<
                       Seelen866 (01:02:39 2/06/2008)
                       i never took [Liberty Reserve]
                       --------------------------------------<
                       Seelen866 (01:03:02 2/06/2008)
                       it happened that i am responsible for all aspects of it
                       -------------------------------------->


                       -------------------------------------->
                       Ragnarok (01:22:17 2/06/2008)
                       Partnership is 50-50. I've put in 7 years into growing everything, directly
                       and indirectly. No?
                       -------------------------------------->
                       Ragnarok (01:22:45 2/06/2008)
                       Sure, in last 2 years you were much more involved with developing LR,
                       but does that mean it discounts the rest of the 5 years?
                       --------------------------------------<

                                                 40
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 41 of 46




(GX-521C). Similarly, another chat from the same time period shows Budovsky bragging to
Kats about his central position and importance in the digital currency industry. (See GX-520G at
12:48:38 31/05/2008 (Budovsky: “[I] am in the middle of the whoel [sic] industry now . . . you
need to be on top.”).

        Rather than looking at his own contemporaneous statements, Budovsky attempts to
support his argument by relying on chats between Kats and Yassine, El Amine, and others in the
digital currency world, which occurred after Budovsky had removed Kats from Liberty Reserve.
(See Def. Exs. 4, 5, 6, and 14). Although Kats made some grand claims about his importance in
the development of Liberty Reserve, these comments are taken out of context. It is important to
bear in mind that when Kats was ousted from Liberty Reserve, he started a digital currency that
he hoped would compete with Liberty Reserve called EuroGoldCash (“EGC”). Hence, Kats had
an interest in puffing himself up to others in the digital currency world so that they would do
business with him and with EGC. That is exactly how these chats read. Indeed, his chat with
Yassine reads like two people who are grousing about how their business partner (Budovsky) cut
them out of a very profitable enterprise and are massaging each other’s egos about how
important they each were to its development. They are not consistent with the contemporaneous
chats and other evidence from the time period when Kats was still at Liberty Reserve, which
show that Kats and Budovsky were 50/50 partners up until the point where Kats was removed
from the company.

        The argument that Kats was the “dominant force” in their relationship is the most obvious
example of a larger, unexpressed theme in Budovsky’s submission – namely, that Kats was more
to blame for the early phase of Liberty Reserve’s criminal activity than Budovsky. There are
hints of this argument in several places in the submission. For example, Budovsky claims that
“Kats and Yassine, after discussion with Budovsky, functionally were the primary decision-
makers in their roles as managers of LR’s day-to-day operations” after the move to Costa Rica.
(Def. Mem. at 27). First, as the May/June 2008 chat makes clear, that is simply not true.
Budovsky accused Kats of having very little involvement in running the company after the move
to Costa Rica. (See GX-521C). Indeed, the reason why Budovsky was able to oust Kats was
that Budovsky was able to travel to Costa Rica and take an active role in the company operations
there, whereas Kats was not. Second, although Budovsky nominally acknowledges that he had
some role in the day-to-day decisions in Costa Rica before Kats was removed, he attempts to
make himself seem less responsible for the conduct by pointing out the “operational reality”
(Def. Mem. at 27) that others made the decisions in Costa Rica prior to May 2008.

       B.     Budovsky Knew that the Vast Majority of Liberty Reserve’s Revenue Was
              Derived from Criminal Activity

        Budovsky also downplays the extent to which criminals used Liberty Reserve. Budovsky
admits that the “majority of LR’s business came from criminal activities.” (Def. Mem. at 24).
He must admit this because he agreed to this factual representation in the April 8 Letter. (See
April 8 Letter). However, Budovsky then splits hairs and contends that it would be inaccurate to
state that the “‘vast’ majority” of Liberty Reserve’s business came from “HYIPs or even from
criminal activity.” (Def. Mem. at 24). Budovsky offers no factual support whatsoever for this

                                               41
       Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 42 of 46



assertion. Rather, he contends that because certain HYIP investors were complicit in the fraud,
their investments in the HYIPs somehow do not count as criminal proceeds. (See Def. Mem. at
24-25). Budovsky even appears to assert that some portion of the HYIPs that used Liberty
Reserve were not Ponzi schemes and were legitimate. (See id. at 24 (agreeing only that “a
majority of the HYIPs using LR were fraud schemes”) (emphasis added)).

        Once again, these assertions are demonstrably incorrect and advance the false premise
that some significant portion of Liberty Reserve’s business was legitimate. As we previously set
forth in our analysis of the top 500 Liberty Reserve accounts by transactional volume, after
eliminating the exchanger accounts, which house money moving in and out of the Liberty
Reserve system, the remaining accounts are almost all linked to criminal ventures. (PSR ¶¶ 110-
115; GX-1310A; GX-1311A-K). Budovsky offers nothing to rebut this analysis except a
specious argument that the proceeds generated by complicit HYIP investors are less criminal.
To be sure, there are numerous, more experienced HYIP investors who are aware of the criminal
nature of the HYIP and attempt to “ride the Ponzi” and cash out before the scheme collapses.
See Tyler Moore et al., The Postmodern Ponzi Scheme: Empirical Analysis of High-Yield
Investment Programs, available at http://tylermoore.ens.utulsa.edu/fc12.pdf. But that does not
change the fact that HYIPs are, by definition, fraudulent Ponzi schemes, and any transfer of
funds collected by a HYIP operator via Liberty Reserve is a money laundering transaction.

        Budovsky’s inability to admit that all of the HYIPs using Liberty Reserve were
fraudulent is especially troubling because Budovsky stated this himself at the time he was
running Liberty Reserve. In an August 10, 2010 email with El Amine, in which El Amine asked
Budovsky whether he should invest in a HYIP, Budovsky replied, “Unless you think there is a
single hyip hat [sic] is real, i dont see a reason to even waste time on that.” (GX-719 (emphasis
added)). The text of the email speaks for itself. Budovsky clearly recognized that all HYIPs,
not just “a majority,” were frauds.

         Moreover, if Liberty Reserve had a significant number of legitimate merchants who used
its system, then one would expect those merchants to be prominently displayed on the Liberty
Reserve website to project a veneer of legitimacy to the outside world. However, the merchants
that Liberty Reserve featured on its website did not offer mainstream goods and services, but
rather appeared to cater to a criminal clientele. (PSR ¶¶ 123-126; GX-110C; GX-541B-G; GX-
542; GX-545; GX-547).

       C.      Budovsky Did Not Implement Effective AML Controls in Costa Rica and
               Had No Intention of Converting Liberty Reserve into a “Bank”

        Budovsky concedes, as he must, that he intentionally designed Liberty Reserve with
weak AML controls and features that would attract HYIPs and other criminals. (See Def. Mem.
at 24; April 8 Letter). Yet, at the same time, Budovsky asserts that he attempted to implement
real AML controls while in Costa Rica in order to rid Liberty Reserve of its criminal users and
ultimately convert it into a legitimate “bank,” and that the same features that were attractive to
the criminal users of Liberty Reserve also served legitimate purposes. (See Def. Mem. at 25-26,
28-29, 31, 38).



                                                42
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 43 of 46



        All of these assertions are flatly contradicted by the record. First, it was never
Budovsky’s intention to eventually legitimize Liberty Reserve and convert it into a bank.
Although, he may have had discussions with Kats about this idea, Budovsky never seriously
entertained it and was much more focused on achieving short term profitability and growth with
HYIPs and other criminal clientele. (See Def. Ex. 11 at 2 (“[Kats wanted] IP restrictions and
PayPal style verifications. Budovsky didn’t want that because it would stifle growth.”)). Indeed,
the documents that Budovsky cites in support of this argument show that it was Kats, not
Budovsky, who held out hope that Liberty Reserve might eventually become a bank. (See Def.
Ex. 11 at 3 (“Kats wanted an actual bank.”); Def. Ex. 4 at 7:12 (Kats: “That was my whole
vision. Get enough money with one type [of] business model, then go mainstream. . . . It looks
like once [Budovsky] went by himself, the vision of future growth was lost. He got blinded by
ego, by the money LR was making, and that was enough for him.”)).

       Second, the AML controls that Budovsky implemented in Costa Rica were not part of an
AML overhaul to purge Liberty Reserve of its criminal users, as Budovsky claims. Instead, the
measures were intentionally ineffective and were designed to placate SUGEF so that Liberty
Reserve could be licensed without disrupting its criminal clientele. The record is replete with
evidence that Budovsky had no intention of engaging in real AML reform at Liberty Reserve.

        For example, at a very basic level, Liberty Reserve’s AML policies were meaningless
because Liberty Reserve intentionally failed to verify the identities of its users, opting instead to
classify only a handful of Liberty Reserve exchangers as the company’s “customers,” while
ignoring the company’s actual end users. (GX-600(T) at 2). Although SUGEF objected to this
policy (see GX-602(T) at 2), Budovsky did nothing to change it because it allowed him to avoid
having to verify the identity of end users and having to learn the true origin and destination of the
funds going through Liberty Reserve. Budovsky knew that implementing this type of end user
verification would cause criminal users to flee to other, less restrictive digital currencies. (See
Def. Ex. 11 at 2 (“Budovsky didn’t want [verifications] because it would stifle growth.”)).
Hence, although it is true that Budovsky made cosmetic reforms like updating the compliance
manual and eventually hiring a compliance officer, he knew that these efforts would never
address the root problem, which was that Liberty Reserve was intentionally turning a blind eye to
its criminal end users. Moreover, the evidence shows that the few reforms that Budovsky did
implement had to be grudgingly extracted from him over the course of more than a year by his
well-intentioned compliance staff, Marco Cubero and Silvia Lopez. (See GX-624; GX-625; GX-
627 at 3; GX-628(T) at 2-3; GX-629). This was not due to fact that the measures were difficult
to implement or because Budovsky did not trust Cubero, as Budovsky claims. (See Def. Mem. at
31, 38). It was because Budovsky knew that the robust AML controls that Cubero was
proposing would negatively impact Liberty Reserve’s criminal business.

        Moreover, the evidence shows that Budovsky did not even take the verification of
exchangers seriously. For example, one of Liberty Reserve’s primary exchangers was
Swiftexchanger, an exchange service secretly owned by Budovsky and El Amine and operated
by El Amine. (PSR ¶ 87). In seeking to hide the fact of his ownership of the company,
Budovsky submitted false documentation to Liberty Reserve’s own verifications department,
which was forwarded to SUGEF. Specifically, at the end of February 2011, Budovsky sent an
email to El Amine attaching identity documents in the name of “Anatoly Gursky,” which

                                                 43
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 44 of 46



Budovsky instructed El Amine to use to update El Amine’s “profile.” (PSR ¶ 90; GX-727).
About two days later, the Swiftexchanger “management” sent these identity documents to
Liberty Reserve’s verifications department via email, with the subject line “Documents for
Verification.” (GX-728). This false documentation was subsequently forwarded to SUGEF in
November of 2011, in response to a request by SUGEF for information about the identities of
Liberty Reserve’s clients. This act of deception by Budovsky underscores how the company’s
“verification” policy was a sham.

        Budovsky also deceived SUGEF and Liberty Reserve’s compliance staff. As the PSR
explains, Budovsky and his co-conspirators devised a system to provide false statistics to, and
hide account information from, Liberty Reserve’s compliance officer, Sylvia Lopez, and
SUGEF. (PSR ¶ 77; GX-1050B(T); GX-1050C; GX-1050D; GX-1050E). While Budovsky
asserts that Liberty Reserve used these administrative areas to underreport Liberty Reserve’s
transactions in order to avoid taxation (see Def. Mem. at 38), Liberty Reserve’s internal emails
make it clear that the fake statistics were intended to be seen by the compliance officer and
SUGEF, neither of whom had anything to do with Liberty Reserve’s taxes. Moreover, the
administrative areas were the natural culmination of a longstanding policy of deceiving SUGEF
that Budovsky and Kats had discussed as early as June 2008. In a chat on June 11, 2008,
Budovsky outlined his idea to give SUGEF access to certain Liberty Reserve data so that
SUGEF will “not ask any questions” and so that Liberty Reserve could appear “legitimate
looking” and “transperent” [sic]. (GX 521E). Hence, the record amply shows that the
administrative areas were not simply for tax evasion, and that Budovsky did not see any need to
be honest and transparent with SUGEF or with his own compliance officer.

        Finally, contrary to Budovsky’s assertions, the features that Liberty Reserve implemented
to attract criminals served no legitimate purposes. Liberty Reserve’s anonymity features did not
help protect legitimate users against outside hackers, as Budovsky contends. (See Def. Mem. at
25-26). The example provided by Kats, which Budovsky misunderstands, was that a user who
pays a hacker for his services with Liberty Reserve currency does not have to provide the hacker
with his account number. (See Def. Ex. 12 at 4). In that example, both the payor and the hacker
are Liberty Reserve users and both are engaged in criminal activity. In addition, while it is true
that using exchangers protected Liberty Reserve against being scammed by users (see Def. Mem.
at 26), only a payment processor that knew it was catering to untrustworthy criminal end users
would worry enough about being scammed to use exchangers to protect against that risk. By
contrast, legitimate payment processors like Western Union and PayPal do not use exchangers
because exchangers add additional fees and generally complicate the process, which are
unappealing to legitimate users.

       D.      Budovsky Inappropriately Deflects Responsibility by Blaming Kats and Others

         Apart from his attempts to minimize the scope of his criminal conduct, Budovsky also
spends a great deal of time in his submission tearing down others – particularly Kats – in a
transparent attempt to deflect the Court’s attention from his own culpability. Budovsky argues
that it is important for the Court to gain a “fuller understanding” of Kats so that the Court can
“place in better context” the respective roles of Budovsky and Kats at Liberty Reserve. (Def.
Mem. at 48, 55). Yet if this is the stated purpose, then it is mystifying how repeated references

                                                44
         Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 45 of 46



to Kats’ involvement with child pornography (see Def. Mem. at 48-50), or a discussion about
Kats feelings towards the United States government (see id. at 49), or how he allegedly stole
from customers after leaving Liberty Reserve (see Def. Mem. at 54), would help clarify these
issues in any way. While it may be fair game to question the credibility of the Government’s
principal cooperator on factual issues relevant to the defendant’s sentencing, it serves no
legitimate purpose to engage in a lengthy and wide-ranging personal attack. That is especially
true in this case where the core criminal conduct is not in dispute. By using roughly eight pages
of his submission to thoroughly malign Kats, Budovsky is not trying to help clarify issues for the
Court. He is trying to make himself look better by smearing his former partner who cooperated
against him. 21 The Court should disregard these attacks as they do not bear on the appropriate
sentence for Budovsky. 22

        Budovsky does not limit his attacks to Kats. He also tries to blame the HYIP victims like
Eric Boateng, portraying Boateng as a savvy investor who was aware of and exploited the
fraudulent nature of the HYIPs in which he invested, and calling him an “unlucky opportunist”
as opposed to an “innocent victim.” (Def Mem. at 34-35). Budovsky’s lack of remorse for the
victims is striking. Like many HYIP victims, Boateng and the other victims who have submitted
victim impact statements to the Court are people of modest means who were lured by the
promise of high returns. They were not sophisticated investors who knew how to game the
HYIPs and they paid a heavy price for it:

                  I thought I was investing safely with professionals, not knowing I
                  was in a lion’s den. Until now my wife has not forgiven me. Part
                  of the investment was her money. This crime has broken me down
                  financially and hence sowed a seed of confusion between me and
                  my wife.

(Victim Impact Statement of Eric Boateng).

                  This crime has left me nothing but untrustworthiness. I trusted that
                  I was in good hands, not knowing this is a highly planned scheme
                  to dupe innocent people like myself. I spent all my life savings
                  with Liberty Reserve and its counterpart. I am so spiritually and
                  physically broken.

(Victim Impact Statement of Elizabeth Ofori).

                  It is very difficult to put in words the loss of money that impacted
                  me and my family. I’m embarrassed I believed that the
                  opportunity to gain this much of a return on my money could ever
21
   It is ironic, however, that Budovsky chastises Kats for submitting a false letter to his Probation officer to get early
release from probation (see Def. Mem. at 48-49), when Budovsky had submitted a false letter to a judge to lift his
travel restrictions two years earlier. (GX-561 (F))
22
   Budovsky makes numerous allegations against Kats, many of them unsupported, which Kats vigorously disputes.
We do not believe that this submission is the appropriate forum to address these allegations, and instead will respond
to them in Kats’ sentencing submission.

                                                           45
        Case 1:13-cr-00368-DLC Document 347 Filed 04/29/16 Page 46 of 46



               happen. Due to a number of health issues creating a need for such
               a windfall of return on investment seemed like at the time a
               possible solution for my needs faced with my economic dilemma.
               I should have known it was too good to be true[.]

(Victim Impact Statement of Bill Norton).

        Liberty Reserve made it possible for these HYIPs to operate and was directly responsible
for the pain and suffering that these victims have experienced, and continue to experience.
Budovsky offers no apologies to these victims, only accusations that they were complicit in the
fraud. Budovsky’s callous disregard for the economic destruction his crimes have caused speaks
volumes about his lack of contrition. A Guidelines sentence is therefore appropriate.

                                        CONCLUSION

        For the reasons set forth above, the Court should impose a Guidelines sentence of 240
months’ imprisonment, consistent with the recommendation made by Probation and the
principles of sentencing set forth in 18 U.S.C. § 3553(a).

                                                    Respectfully submitted,

      PREET BHARARA                                 LESLIE CALDWELL
      United States Attorney                        Assistant Attorney General
                                                    Criminal Division

                                                    M. KENDALL DAY
                                                    Chief, Asset Forfeiture and Money
                                                    Laundering Section



By: __________________________                 By: __________________________
    Christian R. Everdell                          Kevin Mosley
    Christine I. Magdo                             Trial Attorney
    Assistant United States Attorneys              (202) 598-2801
    (212) 637-2556/2297



cc:     John Kaley, Esq. (by hand delivery and ECF)
        Donna Newman, Esq. (by hand delivery and ECF)




                                               46
